Case 2:09-md-02047-EEF-MBN

Fritz Development, LLC

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Client:
Property:

Operator:

Estimator:
Company:

Type of Estimate:
Date Entered:

Price List:
Labor Efficiency:
Estimate:

Drescher
5724 Via Toscana
Ocean Springs, MS 39564

JASON.NE

Jason Nezat
ENSURED Claim Services

Contamainated Drywall
10/15/2015

MSGU8X_OCT15
Restoration/Service/Remodel
DRESCHER

Date Assigned:

EXHIBIT

Dp

Cellular:

Business:
E-maikt

(228} 697-5834

(228) 365-0797

jasonnezat@ensuredclaims.
COI
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Fritz Development, LLC

DRESCHER
General Requirements
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
1. Dumpster load - Approx. 20 yards, 4 6.00 EA 370.00 213.12 444.00 2,877.12 (0.00) 2,877.12
tons of debris
2. Clean stud wall er SF G48 ° 685.57 1,428.26 9,255.17 (0.00) 9,255.17
8
3, Clean floor or reof joist system 3,954.23 SF 0.60 227,76 474.50 3,074.80 (0.00) 3,074.80
4. Final cleaning - construction - 3,954.23 SF 0.20 75.92 158.18 1,024.95 (0.00) 1,024.95
Residential
5. PPE LQOEA 110.00 6.00 0.00 110.00 (0.00) 110.00
6. (Install) Fire Protection 1.00 EA 65.00 0.00 13.00 78.00 (0.00) 78.00
7. First Aid LOOEA 50.00 0.00 6.00 50.00 (0.00) 50.00
8. (install) Field Office Supplies LOOEA 100,00 0.00 0.00 100.00 (0.00) 100.00
9. Postage/Shipping L.OOEA 75.00 0.00 0.00 75.00 (0.00) 75.00
10, Ship Drawings/Blueprints L.OOEA 350.00 0.00 0.00 350.00 (0.00) 350.00
11. Photos LOOEA 175.00 8.00 — 0.00 175.00 (0.00) 175.00
12. Closeout Dacuments 1.00 EA 200.00 0.00 0.00 200.00 (0.00) 200.00
{3. (install) Document Storage 1L.00EA 175,00 0.00 0.00 175.00 (6.00) 175.00
14. Temporary Toilets LOO EA 200.00 0.00 0.00 200.00 (0.00) 200.00
15. (Install) Sanitary Supplies LOOEA 50.00 0.00 0.00 50.00 (0.00) 50.00
16. Ice/Water Cups 1.00EA 75.00 0.00 0.00 75.00 (0.00) 75.00
17. Small Tools LOOEA 100.00 0.00 0.00 100.00 (0.00) 100.00
18. (Instali) Appliance Disposal Fee 1.00EA 90.00 0.00 0.00 90.00 (0.00) 90.00
19, Caily JOb Clean-Up 3,954.23 EA 0.15 56.94 118.62 768.69 (0.00) 768.69
20. Landscaping (Bid Item) LOOEA 250.00 24.00 50.00 324.00 (0.00) 324.00
21, (Install) (Install) Building Permit Fees 3,954.23 EA 0.60 0.00 0.00 2,372.54 (0.00) 2,372.54
(varies)
22. (Install) (Install) Asbestos Survey as LOOEA 0.00 0.00 0.00 0.00 (9.00) 0.00
required by region (required for permit)
23. (Install) City/Cpouinty Registration & LO0EA 50.00 0.00 19.00 60.00 (0.00) 60.00
License Fee-Varies (required for permit).
24, Odorox Treatment 3,954.23 EA 0.90 341.64 711.76 4,612.21 (0.00) 4,612.21
25. Odorox Freatment in POD 2.00 EA 100.00 0.00 40.00 240.00 (0.00) 240.60
26. (Install) POD Storage Container (2 3.00 EA 514.00 148.03 308.40 1,998.43 (0.00) 1,998.43
Total) per month
Totals: General Requirements 1,772.98 3,756.72 28,435.91 0.00 28,435.91
HVAC
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
27. R&R Air handler - with A-coik - 2 ton 1LOOEA 1,397.26 134.14 279.46 1,810.86 (0.00) 1,810.86
28. R&R Air handler - with A-coil - 3 ton 2.00 EA 1,612.64 309.63 645.06 4,179.97 (0.00) 4,179.97

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Fritz Development, LLC

CONTINUED - HVAC.

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACY

29, R&R Refrigerant lineset - 3/8" x 1" 3.00 EA 508.82 146.54 305.30 5,978.30 (0.00) 1,978.30

tubing - 31' to 50"

30. R&R Ductwork system - hot or cold 1.00EA 5,298.72 508.68 1,059.74 6,867.14 (9.00) 6,867.14

air - 2200 to 2500 SF home

31, R&R Ductwork system - hot or cold LOOEA 2,968.33 284.97 593.66 3,846.96 (0.00) 3,846.96

air - 901 to 1199 SF home

32, R&R Fhermostat - Premium grade 3.00 FA 234.40 67.50 140.64 911.34 (0.00) O11.34

(programmable)

Totals: HVAC 1,451.46 3,023.86 19,59-4.57 0.00 19,594.57
Exterior Insulation

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACY

33. R&R Batt insulation - 6"- R19 - 5,665.89 SF 1.04 565.68 1,178.50 7,636.70 (0.00) 7,636.70

unfaced batt

Totals: Exterior Insulation §65.68 1,178.50 7,636.70 0.00 7,636.70
Electrical

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCY DEPREC. ACV

34. R&R Breaker panel - 200 amp w/arc LOOEA 1,848.71 177.48 369.74 2,395.93 {0.00} 2,395.93

fault breakers

35, R&R Ground fault interrupter (GFD) 4.00 EA 28,59 10.98 22.88 148.22 (0.00) 148.22

outlet-Extertor* .

36. Exterior light fixture - Detach & reset 6.00 EA 51.68 29.77 62.02 401.87 (0.00) 401.87

37. Detach & Reset exterior gas lantern 3.00 EA 300.00 86.40 180.00 1,166.40 (0.00) 1,166.40

Remove and replace copper connection

38. Detach & Reset Ceiling fan & light- 200 EA 123.98 23.81 49.60 321.37 (0.00) 321.37

Exterior*

39. R&R Door bell/chime button (button 1.00EA 17.22 1.66 3.44 22.32 (0.00) 22.32

only)

40. R&R Switch-Attic* LOOEA 14.57 1.40 2.92 18.89 (0.60) 18.89

41, Outlet-Attic* LQOEA 10.38 1.00 2.08 13.46 (0.00) 13.46

42, Light fixture - Detach & reset-Attic* LOO EA 34.81 3.34 6.96 45.11 (9.00) 45.11

43. R&R Smoke detector - High grade 10.00 EA 72.57, 69.66 145.14 940.50 (0.00) 940,50

Totals: Electrical 405.50 844.78 5,474.07 0.00 5,474.07

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Security
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACY
44. R&R Security system - control panel - LOOEA 592.83 56.92 118.56 768.31 (0.00) 768.31
High grade ,
45, R&R Security system - contact w/wire 24.00 EA 80.17 184.70 384.82 2,493.60 (0.00) 2,493.60
(per opening)- High grade
46. R&R Security system - key pad - High 2.00 EA 197.47 37.90 79.00 S1E.B4 (0.00) 511.84
grade.
47, R&R Security system - motion 2.00 EA 165.72 34.83 66.28 429.55 (0.00) 429.55
detector
48, R&R Security system - Hor/Bell* 1.00 EA 139.65 13.42 27.94 181.01 (0.00) 181,01
Totals: Security 324.77 676.60 4,384.31 0.00 4,384.31

Main Level
Foyer Height: 12'
276.33 SF Walls 87.35 SF Ceiling
363.68 SF Walls & Ceiling 87.35 SF Floor
9.71 SY Flooring 20.17 LF Floor Perimeter
28.75 LF Ceil. Perimeter
Missing Wall - Goes to Floor 8'7" X 8! Opens into DINING
Missing Wall 6° 5" X 12' Opens into LIVING ROOM
Missing Wall 5' 4" X 12' Opens into HALLWAY.
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
49. Floor protection - corrugated cardboard 87.35 SF 0.43 3.60 7,52 48.68 (0.00) 48.68
and tape
50. R&R 5/8" drywall - hung, taped, with 87.35 SF 2.30 19.30 40.18 260.39 (0.00) 260,39
smooth wall finish
31. R&R 1/2" drywall - hung, taped, with 276.33 SF 2,23 59,16 $23.26 798.63 (0.00) 798.63
smooth wall finish
52. Add for bullnose (rounded) corners 363.68 SF 0.11 3.84 8.00 51.84 (0.00) 51.84
53. R&R Blown-in insulation - 12" depth - 87.35 SF 1.61 13.50 28.14 182.27 (0.00) 182.27
R30
54. Paint the walls and ceiling - two coats 363.68 SF 0.62 21.65 45.10 292.23 (9.90) 292.23
55. R&R Baseboard - 6" w/shoe 20.17 LF 6.39 12,37 25.78 167.04 (0.00) 167.04
56. Seal & paint baseboard, oversized - 20.17 LF 0,98 1.90 3.96 23.63 (0.00) 25.63
two coats
57. Seal & paint base shoe or quarter 20.17 LF 0.50 0.97 2.02 13.08 (0.00) 13.08
round :
58. R&R Casing - oversized - 3 1/4" stain 26,00 LF 3.59 7.95 16.58 107.47 (0.00) 107.47
grade :
59. Stain & finish casing 26.00 LF 0.99 2.47 3.44 33.35 (0.00) 33.35
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Fritz Development, LLC

CONTINUED - Foyer

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCY DEPREC. ACV
60. R&R Crown molding - 3-piece 28.75 LF 12.43 34.31 71.48 463.15 (0.00) 463.15
61. Seal & paint crown molding, oversized 28.75 LF 0.97 2.68 5.58 36.15 (0.00) 36.15
- two coats

62. Rewire - average residence - copper 87.35 SF 2.39 20.04 41.76 270.57 (0.00) 270.57
wiring .

_ 63, R&R Switch - High grade 3.Q0 EA 24.24 6.12 12.76 82,60 (0.00) 82.60
64. R&R Outlet 2.00EA 14.53 2.78 ° 5.82 37.66 (0.00) 37.66
65. Light fixture - Detach & reset - Large LOQEA 64.02 6.14_ 12.80 82.96 (0.00) 82.96
66. R&R Brick veneer - High grade 48.00 SF 12.36 56.96 118.66 768.90 (0.00) 768.90
Totals: Foyer 275.74 574.54 3,722.60 0.06 3,722.60

Office Height: 12'

610.00 SF Walls 160.58 SF Ceiling
770.58 SF Walls & Ceiling 160.58 SF Floor
17.84 SY Flooring 50.83 LF Floor Perimeter
50.83 LF Ceil. Perimeter
DESCRIPTION QUANTITY UNIT PRICE TAX C&P RCV DEPREC. ACY
67. Floor protection - corrugated cardboard 160.58 SF 0.43 6.62 13.82 89.49 (8.00) 89.49
and tape
68. R&R 5/8" drywall - hung, taped, with 160,58 SF 2.30 35.46 73.86 478.66 (0.00) 478.66
smooth wall finish
69. R&R 1/2" drywall - hung, taped, with 610.00 SF 2.23 130.59 272.06 1,762.95 (0.00) 1,762.95
smooth wall finish
79, Add for bullnose (rounded) corners 770.58 SF 0.11 8.14 16.96 109.86 (0.00) 109.86
71. R&R Blown-in insulation - 12" depth - 160.58 SF 1.61 24.83 51.72 335.08 {0.00} 335.08
R30
72, Paint the walls and ceiling - two coats 770.58 SF 0.62 45.86 95.56 619.18 (0.00) 619.18
73. Cabinetry - full height unit - Detach & 4.00 LF 51.64 19.82 41.32 267.70 (6.00) 267.70
reset
74, R&R Baseboard - 6" w/shoe 50.83 LF 6.39 31.17 64.96 420.93 (6.06) 420,93
75. Seal & paint baseboard, oversized - 50.83 LF 0.98 4.78 9.96 64.55 (0.06) 64.55
two coats
76. Seal & paint base shoe or quarter 50.83 LF 0.50 2.44 5.08 32.94 (0.00) — 32.94
round .
77, Detach & Reset French double door LOQOEA 107.40 10.31 21.48 139.19 (0.00) 139.19
set, 8 - Interior - pre-hung unit
78. R&R Casing - oversized - 3 [/4" 22.50 LF 2.80 6.05 12.62 $1.67 (0.00) 81.67
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Fritz Development, LLC

CONTINUED - Office

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
79. Paint door/Avindow trim & jamb - LOOBA 22.93 2.20 4,58 29.71 (0.00) 29.71
Large - 2 coats (per side}
80, Paint French door slab only - 2 coats 2.00 EA 43.88 8.42 17.56 113.74 (6.00) 113.74
(per side)
8. R&R Crown molding - 5 3/8" to 6" 50.83 LF 5.44 26.55 55.32 358.39 (0.00) 358.39
82, Seal & paint crown molding, oversized 50.83 LF 0.97 4.73 9.86 63.90 (0.00) 63.90
- two coats
83. Rewire - average residence - copper 160.58 SF 2.39 36.84 76.76 497,39 (0.00) 497.39
wiring
84. R&R Switch - High grade 3,00 EA 21.24 6.12 12.76 82.60 (0.00) 82.60
85. R&R Outlet 5.00EA 14.53 6.97 14.54 94.16 (0.00) 94.16
86. R&R Phone, TV, or speaker outlet 2.00 EA 17.76 3.40 7.19 46.02 (0.00) 46.02
87. Ceiling fan - Detach & reset LOOEA 123.98 11,99 24.80 160.68 (0.00) 160.68
88. Detach & Reset Recessed light fixture 4.00 EA 72,99 28.03 58.40 378.39 (0.00) 378,39
89, Detach & Reset In-wall/ In-ceiling LOOEA 12.57 1.21 2.52 16.30 (0.00) 16.30
speaker
90. Window drapery - hardware - Detach 1.GOEA 25.26 2.42 5.06 32.74 (0.00) 32.74
& reset
91, Window drapery - remove aud rehang - 2,00 HR 46.10 8.86 18.44 119.50 (0.00) 119.50
per hour
Totals: Office 473.72 987,10 6,395.72 0.00 6,395.72

QRS 6" hy 74 .

2 Dining Height: 12'

al 591.33 SF Walls 189.82 SF Ceiling
781.15 SF Walls & Ceiling 189.82 SF Floor
21.09 SY Flooring 45,25 LF Floor Perimeter
57.33 LF Ceil. Perimeter
Missing Wall - Goes to Floor 36" X 8 Opens into KITCHEN
Missing Wall - Goes to Floor sy" xs Opens into FOYER
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACY
92, Floor protection - corrugated cardboard 189,82 SF 0.43 7.84 16.32 105.78 (0.00) 105.78
and tape
93. R&R Brick veneer - High grade 230.00 SF 12,36 272.91 568.56 3,684.27 (0.00) 3,684,27
94, R&R 5/8" drywall - hung, taped, with 189.82 SF 2.30 41.90 87.32 565.81 (0.00) 565.81
smooth wail finish
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Fritz Development, LLC

CONTINUED - Dining

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV

95. R&R t/2" drywall - hung, taped, with 361.33 SF 2,23 77.36 161.16 1,044.28 (0.00)  —s- §, 044.28

smooth wall finish

96, R&R 1/2" drywall - hung & fire taped 230.00 SF 1.47 32.46 67.62 438.18 (0.00) 438.18

only

97. Add for bullnose (rounded) corners 781.15 SF 0.11 8.24 17.18 111.35 (0.00) 111.35

98. R&R Blown-in insulation - 12" depth - 189.82 SF 1.61 29.34 61.14 396.09 (0.00) 396.09

R30

99. Paint part of the walls and ceiling - two = 551.15 SF 0.62 32.8) 68.34 442.86 (0.00) 442.86

coats

100. R&R Baseboard - 6" w/shoe 45,25 LF 6.39 27.76 57.82 374.73 (0.00) 374.73

101. Seal & paint baseboard, oversized - 45.25 LF 0.98 4.26 8.88 57.49 (0.00) 57,49

two coats

102. Seal & paint base shoe or quarter 45.25 LF 0.30 2.17 4.52 29,32 (0.00) 29.32

round

103. R&R Crown molding - 3-piece $7.33 LF 12.43 68.41 142.52 923.54 (0.00) 923,54

104. Seal & paint crown molding, 57.33 LF 0.97 5.34 11.12 72.07 (0.00) 72.07

oversized - two coats

105, Rewire - average residence - copper 189.82 SF 2.39 43,55 90.74 587.96 (0.00) 587.96

wiring

106. R&R Switch - High grade A0O0EA 21.24 8.16 17.00 110.12 (0.00) 110,12

107, R&R Outlet 4.00 EA 14.53 5.58 11.62 75.32 (0.00) 75,32

108. Light fixture - Detach & reset - Extra 1.00EA 89.61 8.60 17,92 116.13 (0.00) 116.13

large

109, Window drapery - hardware - Detach 1.00 EA 25.26 2.42 5.06 32.74 (0.00) 32.74

& reset

110. Window drapery - remove and rehang 2.00 HR 46.10 8.86 18.44 119.50 (9.00) 119.50

- per hour

Totals: Dining 687,97 1,433.28 9,287.54 0.00 9,287.54
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Kitchen

Height: 12’

rea (B2)
eben

Se pe | ld

523.70 SF Walls
757.85 SF Walls & Ceiling

26.02 SY Flooring

48.31 LF Ceil. Perimeter

234.16 SF Ceiling
234.18 SF Floor

41.31 LF Floor Perimeter

Missing Wall - Goes to Floor 3'6" X 3 Opens into SIDE_ENTRY
Missing Wall 3' 5 5/8" X 12' Opens into HALLWAYI
Missing Wall $2'3"' X 12! Opens into BREAKFAST
Missing Wall 2° 1" X 12! Opens into LIVING _ ROOM
Missing Wall 82" X 12! Opens into LIVING_ROOM
Missing Wall - Goes to Floor 3'6" X 8' Opens into DINING
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
LE. Floor protection - corrugated 234.18 SF 0.43 9.67 20.14 130.51 {0.00} 130.51
cardboard and tape
112. R&R Brick veneer - High grade 168.00 SF 12.36 199.35 415.30 2,691.13 (0.00) 2,691.13
113. R&R 5/8" drywall - hung, taped, with = 234.16 SF 2.30 51.70 107.72 697,98 (0.00) 697.98
smooth wall finish
114. R&R 1/2" drywall - hung, taped, with 355.70 SF 2.23 76.16 158.64 1,028.01 (0.00) 1,028.01
smooth wall finish
115. R&R 1/2" drywall - hung & fire taped 168.00 SF 1.47 23.71 49.38 320.05 (0.00) 320.05
only
116, Add for bullnose (rounded) corners 757.85 SF 0.11 8.00 16.68 108.04 (0.00) 108.04
117. R&R Blown-in insulation - 12" depth- 234.16 SF 1.61 36,19 75.40 488.59 (0.00) 488,59
R30
118. Paint part of the walls and ceiling - 589.85 SF 0.62 35.51 73.14 473.96 (0.00) 473.96
two coats
119. R&R Baseboard - 6" w/shoe 41.31LF 6.39 25.34 52.80 342.11 (0.00) 342.11
120. Seal & paint baseboard, oversized - 41.31 LF 0.98 3.89 8.10 32.47 (0.00) 52.47
two coats
121. Seal & paint base shoe or quarter 41.31 LF 0.50 1.98 4.14 26.78 (0.00) 26.78
round
122, R&R Crown molding - 3-piece 48.31 LF 12.43 57.65 120.10 778.24 (0.00) 778.24
123. Seal & paint crown molding, 48.31 LF 0.97 4.50 9.38 60.74 (0.00) 60.74
oversized - two coats
124. Detach & Reset Sink - single 200EA 120,48 23.14 48,20 312.30 (0.00) 312.30
125. Detach & Reset Sink faucet - Kitchen 2,00 EA 96.98 18.62 38.80 251,38 (0.00) 251.38
126. P-trap assembly - ABS (plastic) 2.00 EA 49.81 9.56 19.92 129.10 (0.00) 129.10
127. Rough in plumbing - per fixture 3.00 EA 505.43 145.56 303.26 1,965.11 (0.00) 1,965.11
128. R&R Angle stop valve 4.00 EA 33.20 12.75 26.56 172.11 (0.00) 172.11
129. R&R Plumbing fixture supply line 4.00 EA 20.52 7.88 16.42 106.38 (0.00) 106.38
130. R&R Countertop - Granite or Marble 86.50 SF $7.95 481.21 1,002.54 6,496.43 (0.00) 6,496.43
131. Detach & Reset Cabinetry - lower 37.75 LF 51.87 187.98 391.62 2,537.69 {0.00} 2,537.69
(base) units
132. Detach & Reset Cabinetry - upper 18.50 LF 44.36 78.78 164.14 1,063.58 (0.00) 1,063.58
(wall) units

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Fritz Development, LLC

CONTINUED - Kitchen

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC, ACY
133. Detach & Reset Cabinetry - full 2.00 LF 5E.64 9.91 20.66 133,85 (0.00) 133.85
height unit

134. Glass tile - Premium grade 74.00 SF 35.36 251.20 $23.32 3,391.16 (0.00) 3,391.16
Allowed for backsplash around range counter area to left of range

135, Range - Commercial - gas - Detach & LOOEA 194.25 18.65 38.86 231.76 (0.00) 251.76
Teset

136. R&R Flexible gas supply line 1.00EA 38.94 3.74 7.80 50.48 (0.00) 50.48
connector - 1/2" - up to 24"

137. Built-in freezer/refrigerator - Remove 1.00 EA 312.50 30.00 62.50 405.00 (0.00) 405.00
& reset

138, Dishwasher - Detach & reset LOOEA 220.40 21,16 44,08 "285.64 (0.00) 285.64
139. Detach & Reset Refrigerator - “LOOEA 25.62 2.46 5.12 33.20 (9.00) 33,20
compact (under counter) - Premium grade

140. Ice maker - Detach and reset 1O0EA 147.45 14.16 29.50 191.11 (0.00) 191i.
141. Garbage disposer - Detach & reset 1.00 EA 129.56 12.43 25.92 167.9} (0.00) 167.91
142. R&R Microwave oven - over range 1Q0EA FIOAS 74.80 155.82 1,009.77 (0.00) 1,009.77
w/built-in hood - High grade

143. General Labor - Labor Minimum 3,.00EA 38.96 11.22 23.38 151.48 (0.00) 151.48
Additional labor hours for technician to detach and reset large hood over range

144, Lighting Installer - Electrician - per 6,00 HR 70.71 40.73 84.86 549.85 (0.60) $49.85
hour

Electrician labor hours to detach and reset under-cabinet and interior cabinet lighting

145. Rewire - average residence - copper 234,18 SF 2.39 53.74 LEL.O4 725,37 (0.00) 725.37
wiring

146. R&R Switch - High grade 4.00 EA 21.24 8.16 17.00 [10.12 (0.00) 110.12
147, R&R Outlet 6.00 EA 14,530 8.37 17d 112.99 (0.00) 112.99
148. Light fixture - Detach & reset 2.00EA 34.81 6.68 13.92 90.22 (0.00) 90.22
Totals: Kitchen 2,066.14 4,304.50 27,892.60 0.00 27,892.60

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Fritz Development, LLC

Living Room

Height: 12'

799.65 SF Walls
1175.47 SF Walls & Ceiling
41,76 SY Flooring
66.64 LF Ceil. Perimeter

375.82 SF Ceiling
375.82 SF Floor
66.64 LF Floor Perimeter

Missing Wall S' 11 7/8" X 12" Opens into HALLWAY

Missing Wall 6'5" x 12' Opens into FOYER

Missing Wall 8'2" X 12' Opens into KITCHEN

Missing Wall 2' 5" X 12! Opens into KITCHEN

Missing Wall 4'8 1/8" X 12" Opens into BREAKFAST

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV

149. Floor protection - corrugated 375.82 SF 0.43 15.52 32.32 209.44 (0.00) 209.44

cardboard and tape

150, R&R Brick veneer - High grade 73.00 SF 12.36 86.61 180.46 1,169.35 (0.00) 1,169.35

ISL. R&R 5/8" drywall - hung, taped, with = 375.82 SF 2.30 82.98 172.88 1,120.25 (0.003 1,120.25

smooth wall finish

152, R&R 1/2" drywall - hung, taped, with 726.65 SF 2.23 155.55 324.10 2,100.08 (0.00) 2,100.08

smooth wall finish

153. R&R 1/2" drywall - hung & fire taped 73.00 SF 147 10.31 21.46 139,08 (0.00) 139.08

only

154. Add for bullnose (rounded) corners 1,175.47 SF 0.11 12.41 25,86 167.57 (0.00) 167.57

155. R&R Blown-in insulation - 12" depth- 373.82 SF 1.61 58.08 121.02 T8447 (0.00) 784.17

R30

156. Paint part of the walls and ceiling - 1,102.47 SF 0.62 65.62 136.70 885.85 (0.00) 885.85

two coals

157. R&R Baseboard - 6" wishoe 66.64 LF 6.39 40,87 85.18 551.88 (0.00) 551.88

158. Scat & paint baseboard, oversized - 66.64 LF 0.98 6.26 13.06 84.63 (0.00) $4.63

two coats

159, Seal & paint base shoe or quarter 66.64 LF 0.50 3.20 6.66 43.18 {0.00} 43.18

round

160. R&R Crown molding - 3-picce 66,64 LF 12.43 79,52 165.66 1,073.51 (0.00) 1,073.51

161, Seal & paint crown molding, 66.64 LF 0.97 6.20 12.92 83.76 (0.00) 83.76

oversized - two coats

162. R&R Casing - oversized - 3 1/4" 28.17 LF 2.80 7.57 15.76 102.20 (0.00) 102.20

163. Paint door/window trim & jamb - LOOEA 22.93 2,20 4.58 29.71 (0.00) 29.71

Large - 2 coats (per side}

164. Paint French door slab only - 1 coat 4.00 EA 29,16 11.20 23.32 151.16 (0.00) 151.16

(per side)

165. Detach & Reset Custom cabinets - 10.17 LF 51.64 50.41 105.04 680.63 (0,00) 680.63

full height units - Premium grade

166. R&R Fireplace mantel - paint grade - 1L.0GEA 972.54 93.36 194,52 1,260.42 (0.00) 1,260.42

custom .

167, Seal & paint fireplace mantel 16.00 LF 3.08 4.73 9.86 63.87 (0.00) 63.87

168. Rewire - average residence - copper 375.82 SF 2.39 86.23 179.64 1,164.08 (0.00) 1,164.08

wiring,

169. R&R Switch - High grade 6.00 EA 21.24 12.23 25.48 165.15 (0.60) 165.15
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Fritz Development, LLC

CONTINUED - Living Room

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACY

170, R&R Outlet 8.00 EA 14,53 11.16 23.24 130.64 (0.00) 150.64

171. R&R Phone, TV, or speaker outlet 2.00 EA 17.76 3.40 TAO - 46.02 (0.00) 46.02

172. Ceiling fan - Detach & reset LGOEA . 123.98 11.96 24.80 160.68 (0.00) 160.68

173. R&R 12/2 high strand speaker wiring 4.00 EA $1.05 31.11 64.84 420,55 (0.00) 420.15

run, box and terminal

174. Detach & Reset Recessed light fixture FOOEA 72,99 49.04 102.18 662,15 (0.06) 662.15

175, Detach & Reset la-wall / In-cciling 1.00 EA 12.57 1,21 2.52 16.30 (0.00) 16.30

speaker

176. Window drapery - hardware - Detach 2.00 EA 235.26 4.85 10.16 65,47 (0.00) 65.47

& reset

177. Window drapery - remove and rehang 3.00 HR 46.10 13.27 27.66 179.23 (0.00) 179,23

- per hour

Totals: Living Room 1,017.00 2,118.92 13,730.61 0.00 13,730.61
Breakfast Height: 12'

“\ 297,29 SF Walls 126.45 SF Ceiling

anf 423.75 SF Walls & Ceiling 126.45 SF Floor

“a1 14.05 SY Flooring 24.77 LF Floor Perimeter

| 24.77 LF Ceil. Perimeter

Missing Wall 4' 8 1/8" X 12! Opens into LIVING _ ROOM

Missing Wall 12' 3" X 12' Opens into KITCHEN

Missing Wall 3' 19/16" X 12° Opens into HALLWAY]

DESCRIPTION QUANTITY UNIT PRICE TAX. O&P RCV . DEPREC. ACV

178. Floor protection - corrugated 126.45 SF 0.43 5.22 10.88 70.47 (0.00) 70.47

cardboard and tape

179. R&R 5/8" drywall - hung, taped, with 126.45 SF 2.30 27.93 58.16 376.92 (6.00) 376.92

smooth wall finish

180. R&R 1/2" drywall - hung, taped, with 297,29 SF 2,23 63.65 132.60 859.21 (0,00) 859.21

smeoth wall finish

181, Add for bullnose (rounded) corners 423.75 SF 0.11 4.48 9,32 60.41 (0.00) 60.41

182. R&R Blown-in insulation - 12" depth- 126.45 SF 1.61 19.54 40.72 263.84 (0.00) 263.84

R30 .

183. Paint the walls and ceiling - two coats 423.75 SF 0.62 25.22 52.54 340.49 (0.00) 340.49

184, R&R Baseboard - 6" w/shoe 24.77 LF 6.39 15.19 31.66 205.13 (0.00) 205.13

185. Seal & paint baseboard, oversized - 24.77 LF 0.98 2,33 4.86 31.46 (0.00) 31.46

two coats ~

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Fritz Development, LLC

CONTINUED - Breakfast

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCY DEPREC, ACY
186. Seal & paint base shoe or quarter 24.77 LF 0.50 1.19 2.48 16.06 (0.00) 16.06
round
187. R&R Crown molding - 3-piece 24.77 LF 12.43 29,55 61,58 399.02 (0.00) 399.02
188. Seal & paint crown molding, 24.77 LF 0.97 2.30 4.80 31.13 (0.00) 31.13
oversized - two coats
189, Window drapery - hardware - Detach 4.00EA 25.26 9.70 20,20 130.94 (0.00) 130.94
& reset
190. Window drapery - remove and rehang 2.00 HR 46.10 8.86 18.44 119.50 (0.00) 149,50
~ per hour
191. Rewire - average residence - copper 126.45 SF 2.39 29.02 60.44 391.68 (0.00) 391.68
wiring
192, R&R Switch - High grade 4.00 EA 21.24 8.16 17,00 110.12 (0.00) 110.12
193. R&R Outlet 4.00 EA 14.53 5.58 11.62 75.32 (0.00) 75.32
194. Detach & Reset Recessed light fixture 3.00 EA 72,99 21.02 43.80 283.79 (0.00) 283.79
Totals: Breakfast 278.94 581.10 3,765.49 0.00 3,765.49

| Pantry Height: 12'

ho 273.91 SF Walls 29.70 SF Ceiling
TT 303.60 SF Walls & Ceiling 29,70 SF Floor
|= 3.30 SY Flooring 22.83 LF Floor Perimeter
| 22.83 LF Ceil, Perimeter
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACY
195. Floor protection - corrugated 29.70 SF 0.43 1,22 2.56 16.55 (0.00) 16.55
cardboard and tape
196. R&R 5/8" drywall - hung, taped, with 29.70 SF 2.30 6.56 13.66 88.53 (0.00} 88.53
smooth wall finish
197, R&R 1/2" drywall - hung, taped, with 273.91 SF 2.23 58.64 122.16 791.62 (0.00) 791.62
smooth wall finish
198, Add for bulinose (rounded) corners 303.60 SF 0.11 3.20 6.68 43,28 (0.60) 43.28
199. R&R Blown-in insulation - 12" depth- 29.70 SF 1.61 4.38 9.58 61,98 (0.00) 61.98
R30
200. Paint the walls and ceiling - two coats 303.60 SF 0.62 18.07 37.64 243.94 (0.00) 243,94
201. R&R Baseboard - 6" w/shoe . 22.83 LF 6.39 14.01 29.18 189.07 (0.00) 189.07
202, Seal & paint baseboard, oversized - 22.83 LF 0.98 2.55 4.48 29.00 (0.00) 29.00
two coats
203. Seal & paint base shoe or quarter 22.83 LF 0.50 1.09 2.28 14.79 (0.00) 14,79
round
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Fritz Development, LLC

CONTINUED - Pantry

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
204. RAR Casing - oversized - 3 1/4" 19.00 LF 2,80 $.11 10.64 68.95 (0.00) 68.95
205. Detach & Reset Interior door, 8' - LOOEA 68.47 6.58 13.70 88.75 (0.00) 88.75
Colonist - pre-hung unit
206. Paint door/window trim & jamb - HOOEA 22,93 2.20 4.58 29.71 (0.00) 29.71
Large - 2 coats (per side}
207, R&R Crown molding - 5 3/8" to 6" 22.83 LF 5.44 11.92 24.84 160.96 (0.00) 160,96
208. Seal & paint crown molding, 22.83 LF 0.97 2.12 444 28.71 (0.00) 28,71
oversized - two coats
209. R&R Shelving - 16" - in place 60.00 LF 54 49,20 102.48 664.08 (0.00) 664.08
210. Seal & paint wood shelving, 12"- 24" 60.00 LF 73 15.84 33.00 213.84 (0.00} 213.84
width
211. Rewire - average residence - copper 29,70 SF 2.39 6.82 14.20 92.00 (0.00) 92.00
wiring
212, R&R Switch - High grade LOOEA 21.24 2.04 426 27.54 (0.00) 27.54
213. Light fixture - Detach & reset LO0EA 34.81 3,34 6.96 45.11 (0.00) 45.11
Totals: Pantry 214.69 447,32 2,898.41 0.60 2,898.41

E Master Bedroom Height: Tray

nS 900.32 SF Walls 381.55 SF Ceiling
T 1281.86 SF Walls & Ceiling 318.01 SF Floor
Master Bedroom] 35.33 SY Flooring 75.03 LF Floor Perimeter
is, hot een L 75,03 LF Ceil. Perimeter
¥; 77 3 10" a a
gl idan ~
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACY
214. Floor protection - corrugated 318.01 SF 0.43 13.13 27.34 177.21 (0.00) 177.21
cardboard and tape
215, R&R 5/8" drywall - hung, taped, with = 381.55 5F 2.30 84.26 175.50 1,137.33 (0.00) 1,137.33
smooth wall finish
216. R&R 1/2" drywall - hung, taped, with 900.32 SF 2.23 192.75 401,54 2,602.00 (0.00) 2,602.00
smooth wall finish
217, Add for bullnose (rounded) corners 1,281.86 SF O41 13.54 28.20 182.74 (0.00) 182.74
218. R&R Blown-in insulation - 12" depth- 381.55 SF 1.61 58.96 122.86 796.12 (0.00) 796.12
R30
219. Paint the walls and ceiling-two coats 1,281.86SF 0.62 76.30 158,96 1,030.01 (0.00) 1,030.01
220, R&R Baseboard - 6" w/shoe 75.03 LF 6.39 46.02 95.88 621,34 (0.00) 621.34
221. Seal & paint baseboard, oversized - 75.03 LF 0.98 7.06 14.70 95.29 (0.00) 95.29
two coats
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Fritz Development, LLC

CONTINUED - Master Bedroom

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
222. Seal & paint base shoe or quarter 75.03 LF 0.50 3.60 7.50 48,62 (0.00) 48.62
round
223. R&R Casing - oversized - 3 1/4" 41.00 LF 2.80 11.03 22.96 148.79 (0.00) 148,79
224. Detach & Reset Intertor double door, LOQEA 107.40 10.31 21.48 139.19 (0.00) 139,19
8 - Colonist - pre-hung unit
225. Paint door/Avindow trim & jamb - 2 2.00 EA 19.48 3.74 7,80 50.50 (0.00) 50,50
coats (per side}
226. Paint door slab only - 2 coats (per 3.00 EA 19.96 5.75 11.98 77.61 (0.00) 77.61
side)
227. R&R Crown molding - 5 3/8" to 6" 138.05 LF 5.44 72.08 150.20 973,27 (0.00) 973.27
228. Seal & paint crown molding, 138.05 LF 0.97 12.85 26.78 173.54 (0.00) 173.54
oversized - two coats
229. Rewire - average residence - copper 318.01 SF 2.39 72.96 152.00 985.00 (6.00) 985.00
wiring
230. R&R Switch - High grade 4.00 EA- 21.24 8.16 17,00 110.12 (0.00) 110.12
231, R&R Outlet 5.00 EA 14.53 6.97 14.54 94.16 (0.00) 94.16
232. R&R Phone, TY, or speaker outlet 2.00EA 17.76 3.40 7.10 46.02 (9.00) 46.02
233. Ceiling fan - Detach & reset LOOEA 123.98 11.90 24,80 160.68 (0.00) 160.68
234, Detach & Reset Recessed light fixture 4Q0EA 72.99 28.03 58.40 378.39 (0.00) 378.39
235. Window drapery - hardware - Detach 2.00 EA 23.26 4.85 10.10 65.47 (0.00) 65.47
& reset
236, Window drapery - remove and rehang 3.00 HR 46.10 13.27 27.66 179,23 (0.00) 179.23
- per hour
Totals: Master Bedroom 760.92 1,585.28 10,272.63 0.00 10,272.63
faster Closet ff
Master Bath ‘Height: 12'
651.98 SF Walls 148.53 SF Ceiling

ps $00.51 SF Walls & Ceiling 148.53 SF Floor

i 16.50 SY Flooring 54.33 LF Floor Perimeter

| 54,33 LF Ceil. Perimeter

—_— |) ————1
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
237. Floor protection - corrugated 148.53 SF 0.43 6.13 12,78 82.78 (0.00) 82.78
cardboard and tape
238. R&R Countertop - Granite or Marble 20.00 SF 57.95 111.26 231.80 1,502.06 (0.00) 1,502.06
239. Cabinetry - lower (base) units - 10.42 LF 51.87 51.89 108.10 700.48 (0.00) 700.48
Detach & reset
240. R&R P-trap assembly - ABS (plastic) 2.00 EA 55.99 10.75 22,40 145.13 (0.00) 145,13
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Fritz Development, LLC

CONTINUED - Master Bath

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACY

241. Detach & Reset Sink faucet - 2.00 EA 96.98 18.62 38.80 251.38 (0.00) 251.38

Bathroom

242, Detach & Reset Sink - single 2.00EA {20.48 23,14 48.20 312.30 (0.00) 312,30

243. R&R Plumbing fixture supply line 4.00EA 20.52 788 16.42 106.38 (0.00) 106.38

244, R&R Angle stop valve 400EA 33.20 12.75 26.56 172.11 (0.00) 172.11

245, R&R Custom shower door & 68.00 SF 21.23 138,59 288.72 1,870.95 (0.00) 1,870.95

partition - 1/4" glass w/frame

246, R&R Tile tub surround - 60 to 75 SF - 1LOOEA 1,152.02 110.59 230.40 1,493.01 (9.00) 1,493.01

High grade

247. Detach & Reset Bathtub 1.00EA 460.77 44,23 92.16 597,16 (6.00) 597.16

248, R&R Tile tub surround - up to 60 SF - 100EA 1,0035,28 96.50 201.06 1,302.84 (0.00) 1,302.84

High grade

To address the tile around the drop in Tub

249, Detach & Reset Shower faucet - LOOEA 63.03 6.05 12.60 81.68 (0.00) 81.68

Premium grade

250. Detach & Reset Jetted tub faucet - 1OOEA 63.03 6.05 12.60 $1.68 (0.00) 81.68

High grade

251. Rough in plumbing - per fixture 4.00EA 505.43 194.09 404.34 2,620.55 (0.00) 2,620, 15

252. R&R 5/8" drywall - hung, taped, with 148.53 SF 2.30 32.80 68.32 442.74 (0.00) 442.74

smooth wall finish

253. R&R 1/2" drywall - hung, taped, with = 651.98 SF 2.23 139.58 290.78 1,884.27 (0.00) 1,884.27

smooth wall finish

254, Add for bullnose (rounded) corners 800.51 SF 0.11 8.45 17.62 14.13 (0.00) 114.13

255. R&R Blown-in insulation - 12" depth- 148.53 SF 1.61 22.95 47,82 309.90 (0.00) 309.90

R30

256, Paint the walls and ceiling - two coats 800.51 SF 0.62 47.65 99.26 643.23 (0.00) 643.23

257. R&R Baseboard - 6" w/shoe 54.33 LF 6.39 33.32 69.44 449.93 (0.00) 449,93

258. Seal & paint baseboard, oversized - 54.33 LF 0.98 5.41 10.64 68.99 (0.00) 68.99

two coats

259, Seal & paint base shoe or quarter 54.33 LF 0.50 2,60 5.44 35.21 (0.00) | 35,21

round

260. R&R Casing - oversized - 3 1/4" 38.00 LF 2.80 10.23 21.28 137.91 (0.00) 137.91

261. Detach & Reset Interior door, 8° - 3.00 EA 68.47 19,72 41,08 266.21 (0.00) 266.21

Colonist - pre-hung unit

262. Paint door/window trim & jamb - 2 3.00EA 19.48 5.62 11.68 75.74 (0.00) 75.74

coats (per side}

263. Paint door slab only - 2 coats (per 5.00 EA 19.96 9.58 19.96 129.34 (0,00) 129.34

side)

264. R&R Crown molding - 5 3/8" to 6" 54.33 LF 5.44 28.37 59.12 383.04 (0.00) 383.04

265, Seal & paint crown molding, 54.33 LF 0.97 5.06 10.54 68.30 (0,00) 68.30

oversized - two coats

266., Rewire - average residence - copper 148.53 SF 2.39 34.08 71.00 460.07 (0.00) 460.07

wiring .

267. R&R Switch - High grade 3,00 EA 21.24 6.12 12.76 82.60 (0.00) 82.60
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Fritz Development, LLC

CONTINUED - Master Bath

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC., ACV
268. R&R Outlet 400EA 14.53 5.58 11.62 75,32 (0.00) 75.32
269. Bathroom ventilation fan, light, and LOOQEA 207.16 19.88 41.44 268.48 (0.00) 268.48
heater
270, Light fixture - Detach & reset 2.00 EA 34.81 6.68 13.92 90,22 (0.00) 90,22
271. Detach & Reset Recessed light fixture 4.00 EA 72.99 28.03 58.40 378.39 (0.00) 378.39
272. Detach & Reset Towel bar - Premium 1.00 EA 12.42 1.19 2.48 16.09 (0.60) 16.09
grade
273. Interior window shutters (set) - 2.00 EA 28.01 5.38 11.20 72.60 (9.00) 72.60
Detach & reset
274, Additional cost to bevei a mirror up 32.00 LF 4.79 14.71 30.66 198.65 (0.00) 198.65
to 1"
275. R&R Mirror - [/4" plate glass 32.00 SF 10.46 32.44 66.96 433.82 (0.00) 433.82
Totals: Master Bath 1,363.35 2,840.36 18,405.27 0.00 18,405.27
Cicsat } r- Master Closet t Height: 12'
347.04 SF Walls 50.55 SF Ceiling
397.59 SF Walls & Ceiling 50.55 SF Floor
5.62 SY Flooring 28.92 LF Floor Perimeter

28.92 LF Ceil. Perimeter

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACY
276. Remove Carpet 50.55 SF 0.23 1.12 2.32 15.07 (0.00) 15.07
277. Carpet 74.25 SF 2,26 16.10 33.56 217.47 (0.00) 21747
278. R&R Carpet pad 50,55 SF 0.59 2.86 5.98 38.67 (0.00) 38,67
279, R&R 5/8" drywall - hung, taped, with 50.55 SF 2.30 11.18 23.26 150,71 (0.00) 150.71
smooth wall finish

280. R&R 1/2" drywall - hung, taped, with 347.04 SF 2.23 74,29 154.78 1,002.97 (0.00) 1,002.97
smooth wall finish

281. Add for bullnose (rounded) corners 397.59 SF 0.11 4.20 8.74 56.67 (0.00) 56.67
282. R&R Blown-in insulation - 12" depth- 30.55 SF 1.61 7.83 16.28 105.50 (0.00) 105.50
R30

283. Paint the walls and ceiling-twocoats 397.59 SF 0.62 23.66 49,30 319.47 (0.00) 319.47
284, R&R Baseboard - 6" MDF w/profile 28.92 LF 4.27 11.85 24.70 160.04 (0.00) 160.04
285. Seal & paint baseboard, oversized - 28.92 LF 0.98 2.72 5.66 36.72 (0.00) 36.72
bwo coats

286, R&R Casing - oversized - 3 1/4" 22.50 LF 2.80 6.05 12.62 81.67 (0.00) $1.67

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Fritz Development, LLC

CONTINUED - Master Closet 1

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
287. Paint door/window trim & jamb - 2 LOOEA 19.48 1.87 3.90 25.25 (0.60) 25,25
coats (per side)
288. Paint door slab only - 2 coats (per 1OQEA 19.96 1,92 4.00 25.88 (0.00) 25.88
side)
289. R&R Crown molding - 3 3/8" to 6" 28.92 LF 5.44 15.09 31.46 203.88 (0.00) 203.88
290. Seal & paint crown molding, 28.92 LF 0.97 2.69 5.62 36.36 (0.00) 36.36
oversized - two coats
291. Organized closet shelving 50.55 SF 7.89 38.29 79.76 516.89 (0.00) 516.89
292. Seal & paint closet shelving 64.00 LF 5.71 33.09 73.08 473.61 (0.00) 473.61
293. Rewire - average residence - copper 50.55 SF 2.39 11.59 24.16 156.56 (0.00) 156.56
wiring
294. R&R Switch - High grade LQOEA 21.24 2.04 4.26 27.54 (0.00) 27.54
295. Light fixture - Detach & reset LOOEA 34.81 3.34 6.96 45.11 (0.00) 45.11
Totals: Master Closet 1 273,78 570.40 3,696.04 0.00 3,696.04

Master Closet 2 Height: 12°

290.00 SF Walls 34.37 SF Ceiling
324.37 SF Walls & Ceiling 34.37 SF Floor
3.82 SY Flooring 24.17 LF Floor Perimeter
24,17 LF Ceil. Perimeter
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACY
296. Remove Carpet 34.37 SF 0.23 0.76 1.58 10.25 (0.00) 10,25
297. Carpet 59.17 SF 2.26 12.84 26.74 173.30 (0.00) 173.30
298. R&R Carpet pad 34,37 SF 0.59 1.96 4.04 26.28 (0.60) 26.28
299. R&R 5/8" drywall - hung, taped, with 34.37 SF 2.30 7.60 15.82 102.48 (0.003 102.48
smooth wall finish
300. R&R 1/2" drywall - hung, taped, with = 290,00 SF 2.23 62.09 129,34 838.13 (0.00) 838.13
smooth wall finish -
301. Add for bullnose (rounded) corners 324.37 SF 0.11 3.42 7.14 46.24 (0,00) 46.24
302. R&R Blown-in insulation - 12" depth- 34.37 SF 1.61 3.32 11.06 71.72 (0.00) 71.72
R30
303. Paint the walls and ceiling-two coats 324,37 SF 0.62 19.31 40.22 260.64 (0.00) 260.64
304. R&R Baseboard - 6" MDF w/profile 24.17 LF 4.27 9.90 20.66 133.76 (0.00) 133.76
305. Seal & paint baseboard, oversized - 24.17 LF 0.98 2.28 4.74 30.71 (0.06) 30.71
two coats
306. R&R Casing - oversized - 3 1/4" 22.50 LF 2.80 6.05 12.62 81.67 (0.00) 81.67
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Fritz Development, LLC

CONTINUED - Master Closet 2

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACY
307, Paint door/window trim & jamb - 2 1.00EA 19.48 1.87 3,90 25.25 (0.00) 25.25
coats (per side}
308. Paint door slab only - 2 coats (per 1.00EA 19.96 1.92 4.00 25.88 (0.00) 25,88
side}
309. R&R Crown molding - 5 3/8" to 6" 24.17 LF 5.44 12.62 26.30 170.40 (0.00) 170.40
310. Seal & paint crown molding, 24.17 LF 0.97 2.26 4.68 30,38 (0.00) 30.38
oversized - two coats
314. Organized closet shelving 34.37 SF 7.89 26.03 54.24 351.45 (0.00) 351.45
312. Seal & paint closet shelving 36.00 LF 5.71 19.73 41.12 266.41 (0.00) 266.41
313. Rewire - average residence - copper 34.37 SF 2.39 7,88 16.42 106.44 (9.00) 106.44
wiring,
314. R&R Switch - High grade 1.G0EA 24.24 2.04 4.26 27.54 (0.00) 27,54
315. Light fixture - Detach & reset LOOEA 34.81 3.34 6.96 45.11 (0.00) 45.11
Totals: Master Closet 2 209.22 435.84 2,824.04 0.00 2,824.04
WC Height: 12'

| T 196.00 SF Walls 15.83 SF Ceiling

a fhe 211.83 SF Walls & Ceiling 15.83 SF Floor

| 1.76 SY Flooring 16.33 LF Floor Perimeter

16.33 LF Ceil. Perimeter
DESCRIPTION QUANTITY UNIT PRICE TAX o&P RCV DEPREC, ACV
316, Floor protection - corrugated 15.83 SF 0.43 0.65 1.36 8.82 (0.00) 8.82
cardboard and tape
317. Toilet - Detach & reset LOOEA 196.43 18.85 39.28 234.56 (0.00) 254.56
318. R&R Plumbing fixture supply line 1Q00EA 20,32 1.97 4.10 26.59 (0.00) 26.59
319. R&R Angle stop valve L.OOEA 33.20 3.20 6.64 43.04 (0.00) 43.04
320, Rough in plumbing - per fixture LOOEA 505.43 48.52 101.08 655.03 (6.00) 655.03
321. R&R 5/8" drywall - hung, taped, with 15.83 SF 2.30 3.50 7.28 47.19 (0.00) 47.19
smooth wall finish
322, R&R 1/2" drywall - hung, taped, with 196.00 SF 2.23 41.97 87.40 566.45 (0.00) 566.45
smooth wall finish
323. Add for bulinose (rounded) corners 211.83 SF 0.11 2.23 4,66 30.19 (0.00) 30.19
324. R&R Blown-in insulation - 12" depth - 15.83 SF 1.61 2.45 5.10 33.03 (0.00) 33.03
R30
325, Paint the wails and ceiling -twocoals = 211.83 SP 0.62 12.61 26.26 170,20 (9.00) 170.20
326. R&R Baseboard - 6" w/shoe 16.33 LF 6.39 10.02 20.86 135.23 (0.00) 135.23
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Fritz Development, LLC

CONTINUED - WC

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACY
327. Seal & paint baseboard, oversized - 16.33 LF 0.98 154 3.20 20.74 (0.00) 20.74
two coats
328. Seal & paint base shoe or quarter 16.33 LF 0.50 0.78 1.64 10.59 (0.00) 10,59
round
329, R&R Casing - oversized - 3 1/4" 38.00 LF 2.80 10.23 21.28 137.91 (0.00) 137.91
330. Paint doar/window trim & jamb - 2 LO0EA 19,48 1.87 3.90 25.25 (0.00) 23,25
coats (per side)
331. Paint door slab only - 2 coats (per LOQEA 19.96 1.92 4.00 25.88 (0.00) 25.88
side)
332. R&R Crown molding - 5 3/8" to 6" 16.33 LF 5.44 8,53 17.78 115.14 (0.00) 115.14
333. Seal & paint crown molding, 16.33 LF 0.97 1.52 3.16 20,52 (0.00) 20.52
oversized - two coats
334, Detach & Reset Cabinetry - upper 3.00 LF 44.36 12.78 26.62 172.48 (0.00} 172.48
(wall) units
335. Rewire - average residence - copper 15.83 SF 2.39 3.64 7.56 49.03 (0.00) 49.03
wiring
336. R&R Switch - High grade 200EA 21.24 4.07 8.50 55.05 (0.00) 55.05
337. Detach & Reset Bathroom ventilation LOOEA 37,72 3.62 7.54 48.88 (0.00) 48.88
fan w/light
338. Light fixture - Detach & reset 1.00EA 34.81 3.34 6.96 45.11 (0.00) 45.11
339, Toilet paper holder - Detach & reset 100EA 13.41 1.26 2.62 16.99 (0.00) 16,99
340. Interior window shutters (set) - 1.00EA 28.01 2.69 5.60 36.30 (0.00) 36.30
Detach & reset
Totals: WC 203.76 424,38 2,750.20 0.00 2,750.20
Bedroom | Height: 12°

T

‘ 596.00 SF Walls 154.17 SF Ceiling

4 750.17 SF Wails & Ceiling 154.17 SF Floor

b 17.13 SY Flooring 49.67 LF Floor Perimeter

‘i 49.67 LF Ceil. Perimeter
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC., ACV
341. Remove Carpet 154.17 SF 0.23 3.41 7.10 45.97 (0.00) 45,97
342, Carpet $88.25 SF 2.26 40.85 85.10 551.40 (0.00) 551.40
343, R&R Carpet pad 154.17 SF 0.59 8.73 18.18 117.87 (0,00) 117.87
344. R&R 5/8" drywall - hung, taped, with 154.17 SF 2.30 34,03 70.92 459.54 (0.00) 459.54
smooth wall finish

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Fritz Development, LLC

CONTINUED - Bedroom I

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
345, R&R b/2" drywall - hung, taped, with 596.00 SF 2.23 127.59 265.80 1,722.47 (0.00) 1,722.47
smooth wall finish
346. Add for dullnose (rounded) corners 750.17 SF 0.11 7,92 16.50 106.94 (0.00) 106.94 -
347, R&R Blown-in insulation - 12" depth- 154.17 SF 1.61 23.83 49.64 321.69 (0.00) 321.69
R30
348, Paint the walls and ceiling - two coats 750.17 SF 0.62 44.65 93.02 602.78 (9.00) 602,78
349. R&R Baseboard - 6" MDF w/profile 49.67 LF 4.27 20,36 42.42 274.87 (0.00) 274.87
350. Seal & paint baseboard, oversized - 49.67 LF 0.98 4.67 9,74 63.09 (0.00) 63.09
tio coats
351. Detach & Reset Interior door, 8' - 3.00 EA 68.47 19,72 41.08 266.21 (0.00) 266.21
Colonist - pre-hung unit
352. R&R Casing - oversized - 3 1/4" $7.00 LF 2.80 15.32 31.92 206.84 (0.00) 206.84
353. Paint door/window trim & jamb - 2 3.00 EA 19.48 5.62 11.68 75.74 (0.00) 75.74
coats (per side}
354, Paint door slab only - 2 coats (per 3.00 EA 19,96 5.75 11.98 77.61 (0.00) 77.61
side)
355, R&R Crown molding - 5 3/8" to 6" 49.67 LF . 5.44 25.95 54.04 350.20 (0.00) 350.20
356. Seal & paint crown molding, 49.67 LF 0.97 4.62 9.64 62.44 (0.00) 62,44
oversized - two coats
357. Rewire - average residence - copper 154.17 SF 2.39 35.38 73.70 477.55 (0.00) 477.55
wiring
358. R&R Switch - High grade 3.00 EA 24.24 6.12 12.76 82.60 (0.00) 82.60
359. R&R Outlet 4.00EA 14.53 5.58 11.62 73.32 (0.00) 75.32
360. R&R Phone, TV, or speaker outlet 2.00 EA 17.76 3.40 7.10 46,92 (0.00) 46.02
361. Ceiling fan - Detach & reset 1.00 EA 123.98 11.90 24.80 160.68 (9.00) 160.68
362. Detach & Reset Recessed light fixture 4.00EA 72.99 28.03 58.40 378.39 (0.00) 378.39
363. Interior window shutters (set) - 1.00EA 28.01 2.69 5.60 36,30 (0.00) 36.30
Detach & reset
Totals: Bedroom 1 486.12 1,012.74 6,562.52 6.00 6,562.52
56" Closet 1 Height: 12'

"All 238.00 SF Walls 24.58 SF Ceiling

all Slest! Sle 262.58 SF Walls & Ceiling 24,58 SF Floor

| prac | . 2.73 SY Flooring 19.83 LF Floor Perimeter

ur {9.83 LF Ceil. Perimeter
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCY DEPREC. ACV
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Fritz Development, LLC

CONTINUED - Closet 1

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCY DEPREC, ACV
364. Remove Carpet 24.58 SF 0.23 0.54 l.l4 733 (0.06) 7.33
365. Carpet 48.42 SF 2.26 10.50 21.88 141.81 (0.00) 141.81
366. R&R Carpet pad 24.58 SF 0.59 1,39 2.90 18.79 (0.00) 18.79
367. R&R 5/8" drywall - hung, taped, with 24.58 SF 2.30 5.42 11.32 73,28 (0.00) 73.28
smooth wall finish
368. R&R 1/2" drywall - hung, taped, with 238.00 SF 2.23 50.95 106.14 687.83 (0.00) 687.83
smooth wall finish
369. Add for bullnose (rounded) corners 262.58 SF 0.11 2.77 5.78 37.43 (0.00) 37.43
370. R&R Blown-in insulation - 12" depth- 24.58 SF 1.61 3.79 7.92 51.28 (0.00) 54.28
R30
371. Paint the walls and ceiling -twocoats 262.58 SF 0.62 15.62 32.56 219.98 (0.00) 210.98
372, R&R Baseboard - 6" MDF w/profile 19.83 LF 4.27 8.13 16,94 109.75 (0.00) 109.75
373. Seal & paint baseboard, oversized - 19.83 LF 0.98 1.86 3.88 25.17 (0.00) 25.17
two coats
374. R&R Casing - oversized - 3 1/4" 22.50 LF 2.80 6.05 12.62 81.67 (0.00) 81.67
375. Paint door/window trim & jamb - 2 LQOEA 19.48 1.87 3,90 25.25 (0.00) 25.25
coats (per side)
376, Paint door stab only - 2 coats (per LOOEA 19.96 1.92 4.00 25.88 (0.00) 25.88
side) ,
377. R&R Crown molding - 5 3/8" to 6" 19.83 LF 5.44 10.35 21.58 139.81 (0.00) 139.81
378, Seal & paint crown molding, 19.83 LF 0.97 1.85 3.84 24.93 (0.00) 24,93
oversized - hwo coats
379. Organized closet shelving 24.58 SF 7.89 18.62 38.78 251.34 (0.00) 231.34
380. Seal & paint closet shelving 24.00 LF 5.71 13.15 27.40 177.59 (0.00) 177,59
381. Rewire - average residence - copper 24.58 SF 2.39 5.64 11.76 76.15 (0.00) 76.55
wiring
382, R&R Switch - High grade 100EA 21.24 2.04 4,26 27.54 (0.00) 27,54
383. Light fixture - Detach & reset 1.00 EA 34.81 3.34 6.96 45.11 (0.00) 45.11
Totals: Closet 1 165.80 345.56 2,238.92 0.00 2,238.92
J&J Vanity 1 Height: 12'
“a 254.00 SF Walls 27.92 SF Ceiling
AW 281.92 SF Walls & Ceiling 27.92 SF Floor
* 3.10 SY Flooring 21.17 LF Floor Perimeter
Talay, 21.17 LF Ceil. Perimeter
)
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEFPREC. ACY
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Fritz Development, LLC

CONTINUED - J&J Vanity 1

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC., ACY
384. Floor protection - corrugated 27.92 SF 0.43 1.45 2.40 15.56 (0.00) 15.56
cardboard and tape :
385. R&R Countertop - Granite or Marble 10.00 SF 57.95 55.63 1 £5.90 751.03 (0.00) 751.03
386, Cabinetry - lower (base) units - 3.00 LF 51.87 24.90 51.88 336.13 (9.00) 336,53
Detach & reset
387, R&R P-trap assembly - ABS (plastic) 1.00EA 55.99 5.37 11.20 72.56 (0.00) 72.56
388. R&R Angle stop valve 2.00 EA 33.20 6.37 13.28 86.05 (0.00) 86.05
389. Rough in plumbing - per fixture 1.00 EA 505.43 48.52 101.08 655.03 (0,00) 655.03
390. R&R Plumbing fixture supply line 2.00 EA 20.52 3.93 8.20 53.17 (0.00) 53.17
391. Detach & Reset Sink faucet - L.OOEA 96.98 9.31 19.40 125.69 {0.00} 125.69
Bathroom
392, Detach & Reset Sink - single LOOEA 120.48 11.57 24.10 156,15 (0.00) 156.15
393, R&R 5/8" drywall - hung, taped, with 27.92 SF 2.30 6.17 12.84 83.22 (0.00) 83.22
smooth wall finish
394, R&R 1/2" drywall - hung, taped, with = 254.00 SF 2,23 54,37 113.30 734,09 (0.00) 734,09
smooth wall finish
395. Add for bullnose (rounded) corners 281.92 SF OLE 2.98 6.20 40.19 (0.00) 40.19
396. R&R Blown-in insulation - 12" depth- 27.92 SF 1.61 4,32 8.98 58.26 (0.00) 58.26
R30
397. Paint the walls and ceiling -twocoats 281.92 SF 0.62 16.78 34.96 226.53 (0.90) 226.53
398. R&R Baseboard - 6" w/shoe 2117 LF 6.39 12.99 27.04 175.31 (9.00) 175.31
399, Seal & paint baseboard, oversized - 21.17 LF 0.98 1.99 4.16 26.50 (0.00) 26.90
two coats
400. Seal & paint base shoe or quarter 2117 LF 0.50 1.02 2.12 13.73 (6.00) 13,73
round
401. R&R Casing - oversized «3 1/4" 38.00 LF 2.80 10.23 21.28 137.91 (0.00) 137.91
402, Detach & Reset Pocket door unit - L00EA 62.18 5.96 12.44 80.58 (0.00) 80.58 -
Colonist
403. Paint door/window trim & jamb - 2 2.00EA 19.48 3.74 7.80 50.50 (0.00) 50.50
coats (per side)
404. Paint door slab onty - 2 coats (per 2.00 BA 19.96 3.83 7.598 $1.73 (0,00) $1.73
side) :
405. R&R Crown molding - 5 3/8" to 6" 21L17LF 5.44 11.06 23.02 149.24 (0.00) 149,24
406. Seal & paint crown molding, 21.17 LF 0,97 1.97 4,10 26.60 (0.00) 26.60
oversized - two coats
407. Rewire - average residence - copper 27.92 SF 2.39 6.41 13.34 86.48 (0.00) 86.48
wiring
408. R&R Switch - High grade 2.00 EA 21.24 4,07 8.50 55.05 (0.00) 55.05
409, R&R Outlet 200 EA 14,53 2.78 5.82 37.66 (0.00) 37.66
410. Light fixture - Detach & reset 2,00 EA 34.81 6.68 13.92 90.22 (0.00) 90.22
411. Detach & Reset Towel bar - Premium L00EA 12.42 1.49 2.48 16.09 (0.00) 16.09
grade
412, Additional cost to bevel a mirror up 16.00 LF 4,79 7.36 15.32 99.32. (0.00) 99.32
to I"

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CONTINUED - J&J Vanity 1

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREE, ACV
413. R&R Mirror - i/4" plate glass 16.00 SF 10.46 16.06 33.48 216.96 (6.00) 216.90
Totals: J&J Vanity £ 343,71 726.52 4,707.88 0.00 4,707.88
J&J Vanity 2 Height: 12°

I 240.00 SF Walls 23.83 SF Ceiling

ms 263.83 SF Walls & Ceiling 23.83 SF Floor

| 2.65 SY Flooring 20.00 LF Floor Perimeter

20.00 LF Ceil. Perimeter
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
414. Floor protection - corrugated 23.83 SF 0.43 0.98 2.06 13.29 (0.60) 13.29
cardboard and tape
413, R&R Countertop - Granite or Marble 8.00 SF 57.95 44.51} 92.72 600.83 (0.00) 600.83
416. Cabinetry - lower (base) units - 4.00 LF 31.87 19.92 41,50 268.90 (0.00) 268.90
Detach & reset
417. R&R P-trap assembly - ABS (plastic) 1.00 EA 55.99 5.37 11.20 72,56 - (0.00) 72.56
418. R&R Angle stop valve 2.00EA 33.20 6.37 13,28 86.05 (0.00) 86.05
419, Detach & Reset Sink faucet - LOOEA 96.98 931 19.40 125.69 (9.00) 125,69
Bathroom
420. Detach & Reset Sink - single LO0EA 120.48 11.57 24.10 136.15 (6.00) 156.15
421, R&R Plumbing fixture supply line 2.00EA 20.52 3.93 8.20 53.17 (0.00) 33.17
422. Rough in plumbing - per fixture LOQEA 503.43 48.52 101.08 655.03 (0.00) 655,03
423. R&R 5/8" drywall - hung, taped, with 23.83 SF 2.30 5.27 10,96 71.04 (0.00) 71.04
smooth wail finish
424, R&R 1/2" drywall - hung, taped, with 240.00 SF 2,23 51,39 107.04 693.63 (0.00) 693.63
smooth wail finish
425, Add for bullnose (rounded) corners 263.83 SF 0.11 2.78 5.80 37.60 (0.00) 37.60
426. R&R Blown-in insulation - 12" depth- 23.83 SF 161 3.67 7,68 49.71 (0.00) 49.71
R30
427, Paint the walls and ceiling - twocoats 263.83 SF 0.62 15.71 32.72 212.00 (0.00) 212.00
428. R&R Baseboard - 6" w/shoe 20.00 LF 6.39 12.28 25.56 165.64 (0.00) 165.64
429. Seal & paint baseboard, oversized - 20.00 LF 0.98 1.88 3.92 25.40 (0.00) 25.40
iwo coats
430. Seal & paint base shoe or quarter 20.00 LF 0.50 0.96 2.00 12.96 (0.00) 12.96
round
431. R&R Casing - oversized - 3.1/4" 57.00 LF 2.80 15,32 31,92 206.84 (0.00) 206.84
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CONTINUED - J&J Vanity 2

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
432, Detach & Reset Interior door, 8 - LOOEA 68.47 6.58 13.70 88.75 (0.00) $8.75
Colonist - pre-hung unit
433. Detach & Reset Pocket door unit - 1.00EA 62.18 5.96 12.44 80.58 (0.00) 80.58
Colonist
434. Paint door/vindow trim & jamb - 2 3.00 EA 19.48 5.62 11.68 75.74 (0.00) 75.74
coats (per side)
435. Paint door slab only - 2 coats (per 3.00 EA 19.96 5.75 14.98 77.41 (0.00) 77.61
side)
436. R&R Crown molding - 5 3/8" to 6" 20.00 LF 5.44 16.44 21.76 141.00 (0.00) 141.00
437. Seal & paint crown molding, 20.00 LF 0.97 1.86 3.88 25.14 (9.00) 25.14
oversized - two coats
438. Rewire - average residence - copper 23.83 SF 2.39 5.47 1E.40 73,82 (0.00) 73.82
wiring
439, R&R Switch - High grade 2.00EA 21.24 4.07 8.50 355.05 (0.00) 55.05
440. RER Outlet 2.00 EA 14,53 2.78 5.82 37.66 (0.00) 37.66
441. Light fixture - Detach & reset 2.00 EA 34,81 6.68 13.92 90.22 (0.00) 90.22
442. Additional cost to bevel a mirror up 16,00 LF 4.79 7.36 15.32 99,32 (0.00) 99,32
to I"
443, R&R Mirror - 1/4" plate glass 16,00 SF 10.46 16.06 33.48 216.90 ~ (0.00) 216.90
Totals: J&J Vanity 2 338.37 705.02 4,568.28 0.00 4,568.28
«J Vanity J J&] Bath
J&J Closet Height: 12'
rales 140.00 SF Walls 7.51 SF Ceiling
Closet FRE Closet #16 Vani 147.51 SF Walls & Ceiling 7.51 SF Floor
Has 0.83 SY Flooring 11.67 LF Floor Perimeter

11.67 LF Ceil. Perimeter

2

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACY
444, Floor protection - corrugated 7S1SF 0.43 0.31 0.64 4.18 (0.00) 4.18
cardboard and tape

445. R&R 5/8" drywall - hung, taped, with 7.51 SF 2.30 1.66 3.46 22.39 (0.00) 22.39
smooth wall finish

446. R&R 1/2" drywall - hung, taped, with 140.00 SF 2,23 29.97 62.44 404.61 (0.00) 404.61
smooth wall finish

447, Add for bulfnose (rounded) corners 147.51 SF 0.11 1.56 3,24 21,03 (0.09) 21.03
448. R&R Blown-in insulation - 12" depth - 7.51 SF 1.61 1.17 2.42 15.68 (0.00) 15.68
R30

449, Paint the walls and ceiling -twocoats = 147.51 SF 0.62 8.78 18.30 118.54 (0.00) 118.54

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CONTINUED - J&J Closet

DESCRIPTION QUANTITY UNIT PRICE TAX

O&P RCV DEPREC. ACV
450. Cabinetry - full height unit - Detach 4.00 LF 51.64 19.82 44.32 267.70 (0.00) 267.70
& reset
454. R&R Baseboard - 6" w/shoe 11.67 LF 6.39 FAT F492 96.66 (0.00) 96,66
452. Seal & paint baseboard, oversized - 11.67 LF 0.98 1.10 2.28 14.82 (0.00) 14.82
two coats
453. Seal & paint base shoe or quarter 11.67 LF 0.50 0.56 1.46 7.56 (0.00) 7,56
round
454, R&R Casing - oversized - 3 1/4" 19.00 LF 2.80 5.11 10.64 68.95 (0.00) 68.95
455. Paint door/window trim & jamb - LOOEA 22.93 2.20 4,38 29.71 (0.00) 29.71
Large - 2 coats (per side)
456. Paint door slab only - 2 coats (per 100EA 19,96 1,92 4.00 25,88 (0.00) 25.88
side)
457, R&R Crown molding - 5 3/8" to 6" 11.67 LF 5.44 6.09 12.70 $2.28 (0.00) 82.28
458, Seal & paint crown molding, 11.67 LF 0.97 1,09 2.26 14.67 (9.00) 14.67
oversized - (wo coats
459, R&R Shelving - 24" - in place 20.00 LF 9.56 18.35 38.24 247.79 (0.00) 247.79
460. Seal & paint wood shelving, 12"- 24" 20,00 LF 2.75 5.28 11.00 71,28 (0.00) 71.28
width
461, Rewire - average residence - copper 7.51 SF 2.39 1.73 3.60 23.28 (0.00) 23,28
wiring
462. R&R Switch - High grade 1.00 EA 21.24 2.04 4,26 27,54 (0.00) 27.54
463. Light fixture - Detach & reset LOOEA 34.81 3.34 6.96 45.11 (0.00) 45.11
Totals: J&J Closet 119.25 248.42 1,609.66 6.00 1,669.66
J&J Bath Height: 12'

] 278.00 SF Walls 32.92 SF Ceiling

2 310.92 SF Walls & Ceiling 32.92 SF Floor

| 3.66 SY Flooring 23.17 LF Floor Perimeter

23.17 LF Ceil. Perimeter
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
464, Floor protection - corrugated 32.92 SF 0.43 1.36 2.84 18.36 (0.00) 18.36
cardboard and tape
465, Toilet - Detach & reset 1.00EA 196.43 18.85 39.28 254.56 (0.00) 254.56
466. R&R Plumbing fixture supply line LOOEA 20.52 1.97 4,10 26.59 (0.00) 26.59
467. R&R Angie stop valve LOOEA 33.20 3.20 6.64 43.04 (0.00) 43.04
468. R&R Tile tub surround - 60 to 75 SF - 100 EA 1,152.02 110.59 230.40 1,493.01 (0.00) 1,493.01
High grade
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CONTINUED - J&J Bath

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACY

469. Detach & Reset Bathtub LOO EA 460.77 44.23 92.16 597.16 (0.00} 597.16

470. Tub/shower faucet - Detach & reset 100EA 168.09 16.14 33.62 247,85 (0.00) 217.85

471, Rough in plumbing - per fixture 2,00 EA 505.43 97.04 202.18 1,310.08 (0.00) 1,310.08

472, R&R 5/8" drywall - hung, taped, with 32.92 SF 2.30 7.27 15.14 98.12 (0.00) 98.12

smooth wall finish

473, R&R 1/2" drywall - hung, taped, with 278.00 SF 2.23 59.51 123.98 803.43 (0.00) 803.43

smooth wall finish

474. Add for bullnose (rounded) corners 310.92 SF 0.11 3,29 6.84 44,33 (0.00) 44,33

475. R&R Blown-in insulation - 12" depth - 32,92 SF 1.61 5.09 10.60 68.70 (0.00) 68.70

R30

476. Paint the walls and ceiling -twocoats 310.92 SF 0.62 18.50 38.56 249.83 (0.00) 249.83

477. R&R Baseboard - 6" w/shoe 23.17 LF 6.39 14.21 29.62 191.89 (0.00) 191,89

478, Seal & paint baseboard, oversized - 23.17 LF 0.98 2.18 4.54 29.43 (0.00) 29.43

two coats

479. Seal & paint base shoe or quarter 23.17 LF 0.50 1.12 2.32 15.03 (0.00) 15.03

round

480. R&R Casing - oversized - 3 1/4" 38.00 LT 2.80 10.23 21.28 137.91 (0.00) 137.91

481. Paint door/window irim & jamb - 2 2.00 EA 19.48 3.74 7.80 50.50 (0.00) 50.50

coats (per side}

482. Paint door slab only - 2 coats (per 2.00 EA 19.96 3.83 7.98 31.73 (0.00) 51.73

side)

483. R&R Crown molding - 5 3/8" to 6” 23.17 LF 5.44 12.09 25.20 163.33 (0.00} 163.33

484. Seal & paint crown molding, 23.17 LF 0.97 2.16 4.50 29,13 (0.00) 29.13

oversized - two coats

485. Rewire - average residence - copper 32.92 SF 2,39 7.55 15.74 101.97 (0.00) 101.97

wiring

486. R&R Switch - High grade 2.00 EA 21.24 4,07 8.50 55.05 (0.00) 55.05

487, Bathroom ventilation fan, light, and LOOEA 207.16 19.88 41.44 268.48 (0.00) 268.48

heater

488. Light fixture - Detach & reset LOOEA 34.81 3.34 6.96 45.11 (0.00) 45.11

489, Detach & Reset Towel bar - Premium LOOEA 12.42 1.19 2.48 16,09 (0.00) 16.09

grade .

490. Toilet paper holder - Detach & reset 1LOOEA 13.1 1.26 2.62 16.99 (0.00) 16.99

Totals: J&J Bath 473.89 987.32 6,397.70 0.00 6,397.70
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Fritz Development, LLC

4 Bedroom 2 Height: 12'
| 604.00 SF Walls 158.33 SF Ceiling

zeke 762.33 SF Walls & Ceiling 158.33 SF Floor

ah 17.59 SY Flooring 50.33 LF Floor Perimeter

| | 50.33 LF Ceil. Perimeter

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACY
49], Remove Carpet 158.33 SF 0.23 3.49 7,28 47.19 (0.00) 47.19
492. Carpet 191.00 SF 2.26 41,44 86.34 559.44 (6.00) 559.44
493. R&R Carpet pad 158.33 SF 0.59 8.97 18.68 121.06 (0.00) 121.06
494, R&R 5/8" drywall - hung, taped, with 158.33 SF 2.30 34.97 72.82 ATL.95 (0.00) 474.95
smooth wall finish

495, R&R 1/2" drywall - hung, taped, with 604.00 SF 2.23 129.30 269.40 1,745.62 (0.00) 1,745.62
smooth wall finish

496. Add for bullnose (rounded) corners 762.33 SF O.1t 8.05 16.78 108.69 (0.00) 108.69
497, R&R Blown-in insulation - 12" depth- 158.33 SF 1.61 24.47 51.00 330.38 (0.00) 330.38
R30

498. Paint the walls and ceiling - two coats = 762.33 SF 0.62 43.37 94.52 612.53 (0.00) 612.53
499. R&R Baseboard - 6" MDF w/profile 50.33 LF 4.27 20.63 42.98 278.52 (0.00) 278,52
500. Seal & paint baseboard, oversized - 50,33 LF 0.98 4.74 9.86 63.92 (0.00) 63,92
two coats /

501. Detach & Reset Interior door, 8" - 2.00 EA 68.47 13.15 27.38 177.47 (0.00) 177.47
Colonist - pre-hung unit

502, Detach & Reset Interior double door, LOOEA 107.40 10.314 21.48 139.19 (0.00) 139.19
8' - Colonist - pre-hung unit

503. R&R Casing - oversized - 3 1/4" 60.00 LF 2.80 16.12 33.60 217.72 (0.00) 217.72
504. Paint door/window trim & jamb - 10Q0EA 22.93 2.20 4.58 29,71 (0.00) 29.71
Large - 2 coats (per side)

505, Paint door/window trim & jamb - 2 2.00 EA 19.48 3.74 7,80 50.50 (9,00) 50.50
coats (per side}

506. Paint door slab only - 2 coats (per 4.00 EA 19,96 7.67 15.96 103.47 (0.00) 103.47
side)

507. R&R Crown molding - 5 3/8" to 6" 50.33 LF 5.44 26.28 54.76 354.83 (0.00) 354.83
508. Seal & paint crown molding, 50.33 LF 0.97 4.69 9.76 63.27 (0.00) 63.27
oversized - two coats .

509. Rewire - average residence - copper 158.33 SF 2.39 36.32 75.68 490.41 ~ (9.00) 490.41
wiring,

510. R&R Switch - High grade 3.00 EA 21.24 6.12 12.76 82.60 (0.00) 82.60
511i. R&R Outlet 5.00EA 14.53 6.97 14.54 94.16 (0.00) 94.16
512, R&R Phone, TV, or speaker outlet 200 EA 17.76 3.40 7.10 46.02 (0.00) 46.02
513. Ceiling fan - Detach & reset LOOEA 123.98 11.90 24.80 160.68 (0.00) 160.68
514. Detach & Reset Recessed light fixture 4.00 EA 72,99 28.03 58.40 378.39 (0.00) 378,39
515. Interior window shutters (set) - LOOEA 28.01 2.69 5.60 36.30 (0.00) 36.30
Detach & reset

Totals: Bedroom 2 501.02 1,043.86 6,764.02 0.00 6,764.02

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Closet 2

Height: 12’

324,00 SF Walls
356.77 SF Walls & Ceiling

3.64 SY Flooring

27.00 LF Ceil. Perimeter

32.77 SF Ceiling
32.77 SF Floor
27.00 LF Floor Perimeter

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
516. Remove Carpet 32.77 SF 0.23 0.72 1,30 9.76 (0.00) 9.76
517, Carpet 58.08 SF 2.26 12.60 26.26 170.12 (0.00} 170.12
518. R&R Carpet pad 32.77 SF 0.59 1.85 3.88 25.07 (0.00) 25.07
519. R&R 5/8" drywall - bung, taped, with 32.77 SF 2.30 7.24 15.06 97.67 (0.00) 97.67
smooth wall finish
520. R&R 1/2" drywall - hung, taped, with = 324,00 5F 2.23 69.36 144,52 936.40 (0.00) 936.40
smooth wall finish
521. Add for bulinose (rounded) corners 356.77 SF 0.11 3.77 7.84 50.85 (0.00) 50.85
522. R&R Blown-in insulation - 12" depth- 32.77 SF 1.61 5.06 10.54 68.36 (0.00) 68.36
R30
523. Paint the walls and ceiling -twocoats 356.77 SF 0.62 21,24 44.24 286.68 (0.00) 286.68
524. R&R Baseboard - 6" MDF wiprofile 27.00 LF 4.27 11.07 23.06 149,42 (0.00) 149.42
525. Seal & paint baseboard, oversized - 27,00 LF 0.98 2.54 3.30 34.30 (0.00) 34.30
two coats
526. R&R Casing - oversized - 3 1/4" 22.50 LF 2.80 6.05 12.62 81.67 (0.00) 81.67
527. Paint door/svindow trim & jamb - 1LOOEA 22.93 2.20 4,58 29.71 (0.00) 29.71
Large - 2 coats (per side)
528. Paint door slab only - 2 coats (per L.OOEA 19.96 1.92 4.00 25.88 (0.00) 25,88
side)
§29, R&R Crown molding - 5 3/8" to 6" 27.00 LF 5.44 14.10 29.38 190.36 (0.00) 190.36
530. Seal & paint crown molding, 27.00 LF 0,97 2,52 §.24 33,95 (0.00) 33.95
oversized - two coats
531. Organized closet shelving 32.77 SF 7.89 24.82 51.72 335.10 (0.00) 335.10
532. Seal & paint closet shelving 36.00 LF 5.71 19.73 41.12 266.41] (0.00) 266.41
533. Rewire - average residence - copper 32.77 SF 2.39 7.52 15.66 101.50 (0.00) 101.50
wiring
534. R&R Switch - High grade 100EA 21.24 2.04 4.26 27.54 (0.00) 27.54
535, Light fixture - Detach & reset 1.00 EA 34.81 3.34 6.96 45.11 (0.00) 45.11
Totais: Closet 2 219.69 457,74 2,965.86 0.00 2,965.86
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Fritz Development, LLC

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Oo 5" ——t

Bedroom 3

Height: 12'

596.00 SF Walls
750.17 SF Walls & Ceiling

17.13 SY Flooring

49.67 LF Ceil. Perimeter

154.17 SF Ceiling
154.17 SF Floor

49.67 LF Floor Perimeter

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV

536, Remove Carpet 154.17 SF 0.23 3.41 7.40 45,97 (0.00) 45.97

537. Carpet 187.58 SF 2.26 40.69 84.78 549.40 (0.00) 549.40

338. R&R Carpet pad 154,17 SP 0.59 8.73 18.18 117.87 (0.00) 117.87

539. R&R 3/8" drywall - hung, taped, with 154.17 SF 2.30 34.03 70.92 459.34 (0.00) 459.54

smooth wall finish

540. R&R 1/2" drywall - hung, taped, with 596.00 SF 2.23 127.59 265,80 £722.47 (0.00) 1,722.47

smooth wall finish

541. Add for bullnose (rounded) corners 750.17 SF 0.11 7.92 16.50 106.94 (0.00) 106.94

342. R&R Blown-in insulation - 2" depth- 154.17 SF L.6t 23.83 49.64 321.69 (0.00) 321.69

R30

543. Paint the walls and ceiling - two coats 750.17 SF 0.62 44.65 93.02 602.78 (0.00) 602.78

544, R&R Baseboard - 6" MDF w/profile 49.67 LF 427 20.36 42.42 274.87 (0.00) 274.87

545, Seal & paint baseboard, oversized - .49.67 LF 0.98 4.67 9.74 63.09 (0.00) 63.09

two coats

546, R&R Casing - oversized - 3 1/4" 60.00 LF 2.80 16.12 33.60 217.72 (0.00) 247.72

347, Detach & Reset Interior door, 8' - 2.00 EA 68.47 13.15 27.38 17747 (0.00) 177.47

Colonist - pre-hung unit

548, Detach & Reset Interior doubie door, LOOEA 107.40 10.31 21.48 139.19 (0.00) 139.49

8' - Colonist - pre-hung unit

549. Paint door/window trim & jamb - 1OOEA 22,93 2.20 4.58 29.71 (0.00) 29.71

Large - 2 coats (per side)

550. Paint door/window trim & jamb - 2 2.00 EA 19.48 3.74 7.80 30.50 (0.00) 50.50

coats (per side)

551. Paint door slab only - 2 coats (per 4.00 EA 19.96 7.67 15.96 103.47 (0.00) 103.47

side)

552. R&R Crown molding - 5 3/8" to 6" 49.67 LF 5.44 25.95 54,04 350.20 (0.00) 350.20

553. Seal & paint crown molding, 49.67 LF 0.97 4.62 9.64 62.44 (0.00) 62.44

oversized - two coats

554. Rewire - average residence - copper 154.17 SF 2.39 35.38 73.70 477.55 (9.00) 477.55

wiring

555. R&R Switch - High grade 3.00 EA 21.24 6.12 12.76 82.60 (0.00) 82.60

556, R&R Outlet , 5.00 EA 14.53 6.97 14.54 94.16 (0.00) 94.16

557, R&R Phone, TV, or speaker outlet 2.00 EA 17.76 3.40 7.10 46.02 (0.00) 46.02

558. Ceiling fan - Detach & reset 1.00EA 123,98 11.90 24,80 160.68 (0.00) 160.68

559, Detach & Reset Recessed light fixture 4,00 EA 72.99 28.03 58.40 378.39 (0.00) 378.39

560. Interior window shutters (set) - LOO EA 28.01 2.69 5.60 36.30 (0.00) 36,30

Detach & reset ,

Totals: Bedroom 3 494,13 1,029.48 6,671.02 0.00 6,671.02
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Fritz Development, LLC

arcu

Closet 3 Height: 12'
269.04 SF Walls 22.78 SF Ceiling
291.82 SF Wallis & Ceiling 22.78 SF Floor
2.53 SY Flooring 22.42 LF Floor Perimeter

22.42 LF Ceil. Perimeter

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
561. Remove Carpet 22.78 SF 0.23 0.50 1.04 6.78 (0.00) 6.78
562. Carpet 46.75 SF 2.26 10.14 21.14 136.94 (0.60) 136.94
563. R&R Carpet pad 22,78 SF 0.59 1,29 2.70 17,43 (0.00) 17.43
564, R&R 5/8" drywall - hung, taped, with 22.78 ST 2.30 5.02 10.50 67.92 ~ (0.00) 67.92
smooth wall finish

565. R&R 1/2" drywall - hung, taped, with 269.04 SF 2.23 57.60 120.00 777,56 (0.00) 77756
smooth wall finish

566, Add for bullnose (rounded) corners 291.82 SF 0.1 3.08 6.42 41.60 (0.00) 41.60
567. R&R Blown-in insulation - 12" depth - 22.78 SF 1.61 3,53 7.34 47.54 (0.00) 4754
R30

568. Paint the walls and ceiling - two coats 291.82 SF 0.62 17.36 36.18 234.47 (0.00) 234.47
569. R&R Baseboard - 6" MDF w/profile 22.42 LF 4.27 9.19 19.14 124.07 (0.00) 124.07
570. Seal & paint baseboard, oversized - 22.42 LF 0.98 2.11 4.40 28.48 (0.00) 28.48
two coats

571. R&R Casing - oversized - 3 E/4" 22,00 LF 2.80 5.92 12.32 79.84 (0.00) 79.84
572. Paint door/window trim & jamb - 1.00 EA 22.93 2.20 4,58 29.71 (0.00) 29.71
Large - 2 coats (per side}

573. Paint door slab only - 2 coats (per 2.00 EA 19.96 3.83 7.98 31.73 (0.60) 51.73
side)

574. R&R Crown molding - 5 3/8" to 6" 22.42 LF 5.44 11.71 24.38 158.05 (9.00) 158.05
575. Seal & paint crown molding, 22.42 LF 0.97 2.09 4.36 28.20 (0.00) 28.20
oversized - two coats

576. Organized closet shelving 22,78 SF 7,89 17.26 35.94 232.93 (0.00) 232.93
577. Seal & paint closet shelving 42.00 LF 5.71 23.03 47.96 310.81 (0.00) 310.81
578. Rewire - average residence - copper 22.78 SF 2,39 5.23 10.88 70.55 (0.00) 70.55
wiring

579. R&R Switch - High grade 100 EA . 2L24 2.04 4.26 27,54 (0.00) 27.54
580. Light fixture - Detach & reset 1OQOEA 34.81 3.34 6.96 45.11 (9.00) 45.11
Totals: Closet 3 186.47 388.48 2,517.26 0.00 2,517.26

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Fritz Development, LLC

sgl Bathroom 3-- Height: 12°

= " f, 322.00 SF Walls 43.11 SF Ceiling
Bacon i 365.11 SF Walls & Ceiling 43.11 SF Floor
5 I~ 4.79 SY Flooring 26,83 LF Floor Perimeter
i i | 26.83 LF Ceil. Perimeter
| sie
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC, ACV
581. Floor protection - corrugated 43.11SF 0.43 1.78 3.70 24.02 (0.00) 24.02
cardboard and tape
582. R&R Countertop - Granite or Marble 10.00 SF 57.95 55.63 115.90 751.03 (0.00) 751.03
$83, Cabinetry - lower (base) units - 5.00 LF 51.87 24.90 51.88 336.13 (0.00) 336.13
Detach & reset
584. R&R P-trap assembly - ABS (plastic) LOOEA 55.99 §.37 £1.20 72.56 (0.00} 72.56
585. R&R Angle stop valve 3.00 BA 33.20 9.57 19.92 129.09 (0.00) 129,09
586. Detach & Reset Sink faucet - 1.00 EA 96.98 9.31 19.40 125.69 (0.00) 125.69
Bathroom
587. R&R Plumbing fixture supply line 3.00 FA 20.52 5.92 12.32 79.80 (0.00) 79.80
588. Detach & Reset Sink - single LOO EA 120.48 11.57 24,10 156.15 (9.00) 156.15
589. Rough in plumbing - per fixture LOOEA $05.43 48.52 101.08 655.03 (0.00) 655.03
590. Toilet - Detach & reset LOOEA 196,43 18.85 39.28 254.56 (0.00) 254,56
591. R&R Tile tub surround - 60 to 75 SF - 1.00 EA 1,152.02 110.59 230,40 1,493.01 (0.00) 1,493.01
High grade
$92. Detach & Reset Bathtub L.OOLA 460,77 44.23 92.16 597.16 (0.00) 597.16
593. Tub/shower faucet - Detach & reset LOOEA 168.09 16.14 33,62 217.85 (0.00) 217.85
594. R&R 3/8" drywall - hung, taped, with 43.11 SF 2.30 9.51 19.84 128.51 (0.00) 128.31
smooth wall finish
595. R&R 1/2" drywall - hung, faped, with 322.00 SF 2.23 68.94 143.62 930.62 (0.00) 930.62
smooth wall finish
396. Add for bullnose (rounded) corners 365.11 SF OLE 3.85 8.04 52.05 (0.00) 52.05
597. R&R Blown-in insulation - 12" depth. 43.11 SF L6L 6.66 13,88 89.95 (0.00) 89.95
R30
598. Paint the walls and ceiling - two coats 363.11 SF 0.62 21.73 45.28 293,38 (0.00) 293.38
599. R&R Baseboard - 6" w/shoe 26.83 LF 6.39 16.47 34.28 222.19 (0.00) 222.19
600. Seal & paint baseboard, oversized - 26.83 LF 0,98 2.52 5.26 34.07 (0.00) 34.07
two coats
601, Seal & paint base shoe or quarter 26.83 LF 0.50 1.28 2.68 17.38 (6.00) 17.38
round
602, R&R Casing - oversized - 3 1/4" 19.00 LF 2.80 $11 10.64 68.95 (0.00) 68.95
603. Paint door/window trim & jamb - 2 1.00 EA 19.48 1.87 3,90 25.25 (0.00) 25.25
coats (per side)
604. Paint door slab only - 2 coats (per 1.00EA 19.96 1.92 4.00 25.88 (0.00) 25.88
side)
605, R&R Crown molding - 5 3/8" to 6" 26.83 LF 5.44 14.02 29.20 189.18 (0.00) 189.18
606. Seal & paint crown molding, 26.83 LF 0.97 2,50 5.20 33.73 (0.00) 33.73
oversized - two coats
607. Rewire - average residence - copper 43.11 SF 2.39 9.89 20.60 133.52 (9.00) 133.52
wiring

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Fritz Development, LLC

CONTINUED - Bathroom 3--

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCY DEPREC, ACV
608. R&R Switch - High grade L.O0EA 21,24 2.04 4.26 27.54 (0.00) 27.54
609. R&R Outlet 2.00 EA 14.53 2.78 5.82 37.66 (6.06) 37.66
610, Light fixture - Detach & reset LOO EA 34.81 3.34 6.96 45.11 (0.00} 45.11
611. Bathroom ventilation fan, light, and LOOEA 207.16 19.88 41.44 268.48 {0.00} 268.48
heater
612, Detach & Reset Towel bar - Premium LOOEA 12.42 1.9 2.48 16.09 (0.00) 16.09
grade
613. Toilet paper holder - Detach & reset LOOEA 13.61 1.26 2.62 16.99 (0.60) 16.99
614, Additional cost to bevel a mirror up 16.00 LF 4.79 7.36 15.32 99.32 (0.00) 99.32
to i"
615. R&R Mirror - §/4” plate glass 16.00 SF 10.46 16.06 33.48 216.90 (0.00) 216.90
Tetals: Bathroom 3-- 582.56 1,213.76 7,864.83 0.00 7,864.83

Hallway Height; 12'

$76.11 SF Walls 104.99 SF Ceiling
681,10 SF Walls & Ceiling 104.99 SF Floor
11.67 SY Flooring 48.01 LF Floor Perimeter
48.01 LF Ceil. Perimeter
Missing Wall 5' 4" X 12' Opens into FOYER
Missing Wall S111 7/8" X 12! Opens into LIVING_ ROOM
DESCRIPTION QUANTITY UNIT PRICE TAX osr RCV DEPREC. ACV
616. Floor protection - corrugated 104.99 SF 0.43 4.33 9,04 58.52 (0.00) 38.52
cardboard and tape
617, R&R 5/8" drywall - hung, taped, with 104.99 SF 2.30 23.18 48.30 312.96 (0.60) 312.96
smooth wall finish
618, R&R 1/2" drywall - hung, taped, with 576.11 SF 2.23 123.33 256.96 1,665.02 (0.00) 1,665.02
smooth wall finish
619. Add for bullnose (rounded) corners 681,10 SF 0.11 7A9 14,98 97.09 (0.00) 97,09
620. R&R Blown-in insulation - 12" depth- 104.99 SF . él 16.22 33.80 219.05 (0.00) 219.05
R30
621. Paint the walls and ceiling -twocoats 681.10 SF 0.62 40,54 84.46 547.28 (0.00) 547.28
622. R&R Baseboard - 6" w/shoe 48.01 LF 6.39 29.46 61.36 397.60 (0.00) 397.60
623. Seal & paint baseboard, oversized - 48.01 LF 0.98 4.51 9,42 60.98 (0.06) 60.98
two coals .
624. Seat & paint base shoe or quarter 48.01 LF 0.50 2.30 4.80 31.11 (0.00) 31.11
round
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Fritz Development, LLC

CONTINUED - Haliway

DESCRIPTION QUANTITY UNIT PRICE TAX O&kP RCV DEPREC. ACY
625. R&R Casing - oversized - 3 1/4” 79,50 LF 2.80 ~ 21.37 44,52 288.49 (0.00) 288.49
626. Detach & Reset Interior door, 8' - LOOEA 68.47 6.58 13.70 88.75 (0.00) 88.75
Colonist - pre-hung unit :
627, Paint door/window trim & jamb - LOOLA 22.93 2.20 4.53 29.71 (0.00) 29.71
Large - 2 coats (per side)
628. Paint door/window trim & jamb - 2 3.00 EA 19.48 5.62 11.68 75.74 (0.00) 73.74
coats (per side) :
629. Paint door slab only - 2 coats (per 3.00 BA 19.96 5.75 11.98 77.61 (0.00) 77.61
side}
630. Paint French door slab only - 2 coats 2.00EA 43.88 8.42 17,56 113.74 (0.00) 113.74
(per side)
63h. R&R Crown molding - 3-piece 48.01 LF 12.43 57.29 119.34 773.39 (0.00) 773,39
632. Seal & paint crown molding, 48.01 LF 0.97 4.48 9.32 60.37 (0.00) 60.37
oversized - two coats
633. Rewire - average residence - copper 164.99 SF 2,39 24.08 50.18 325.19 ~ (0.00) 325.19
wiring
634. R&R Switch - High grade 4.00 EA 21.24 8.16 17.00 110.52 (0.00) 110.12
635. R&R Outlet 5.00 EA 14.53 6.97 4.54 94.16 (0.00} 94.16
636. Detach & Reset Recessed light fixture 2.00 EA 72.99 14.02 29.20 189.20 (0.00) 189.20
Totals: Hallway 416.00 866.72 5,616.08 0.00 §,616.08
J
] Hall Closet Height: 12'
Hallway
a) “ 186.00 SF Walls 15.01 SF Ceiling
201.01 SF Walls & Ceiling 15.01 SF Floor
| - 1.67 SY Flooring 15.50 LF Floor Perimeter
] " 15.50 LF Ceil. Perimeter
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACY
637, Floor protection - corrugated 15.01 SF 0.43 0.62 1.30 8.37 (0.00) 8.37
cardboard and tape
638. R&R 5/8" drywall - hung, taped, with 15.01 SF 2.30 3.31 6.90 44.73 (0.00) 44,73
smooth wall finish
639, R&R 1/2" drywall - hung, taped, with 186.00 SF 2.23 39.81 82.94 537.53 (0.00) 537,53
smooth wall finish
640. Add for bullnose (rounded) corners 201.01 SF 0.11 2,12 4.42 28.65 (0.00) 28.65
641. R&R Blown-in insulation - 12” depth - 15.01 SF 1.61 2.31 484 31.32 (0.00) 31.32
R30 ,
642. Paint the walls and ceiling - two coats 201.01 SF 0.62 11.96 24.92 161,51 (0.00) 161.51
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Fritz Development, LLC

CONTINUED - Hall Closet

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACY
643. R&R Baseboard - 6" w/shoe 15.50 LF 6.39 9,50 19.80 128.35 (0.00) 128.35
644. Seal & paint baseboard, oversized - 15,50 LF 0.98 1.46 3.04 19.69 (9.00) 19.69
two coats
645. Seal & paint base shoe or quarter 15.50 LF 0.50 0.74 1.56 19.05 (0.00) 10.05
round
646. R&R Casing - oversized - 3 1/4” 22.50 LT 2.80 6.05 12.62 81.67 (0.00) 81.67
647, Paint door/window trim & jamb - 1.00 BA 22.93 2.20 4.58 29,71 (0.00) 29.71
Large - 2 coats (per side}
648. R&R Crown molding - 5 3/8" to 6" 15.50 LF 5.44 8.09 16.86 109,28 (0.00) 109.28
649. Seal & paint crown molding, 15.50 LF 0.97 L.44 3.00 19.48 (0.00) 19.48
oversized - two coats
650. R&R Shelving - 24" - in place 24.00 LF 956 22.02 45.90 297.36 (0.00) 297.36
651. Seal & paint wood shelving, 12"- 24" 24.00 LF 2.75 6.34 13.20 85.54 (0.00) 85.54
width :
652. Rewire - average residence - copper 15.01 SF 2.39 3.44 718 46.49 (0.60) 46.49
wiring
653, R&R Switch - High grade 1.00 EA 21.24 2.04 4.26 27.54 (0.00) 27,54
654. Light fixture - Detach & reset 1.00EA 34.81 3.34 6.96 45.11 (0.00) 45.11
Totals: Hall Closet 126.79 264.28 1,712.38 0.00 . 1,712.38
Laundry Room Height: 12'
I 1.3"
1A we D 484.00 SF Walls 79.90 SF Ceiling
aie Laundry Room Pow 563.90 SF Walls & Ceiling 79.90 SF Floor

de er pe 8.88 SY Flooring 40.33 LF Floor Perimeter

es fea = —Z :

] ean 40.33 LF Ceil. Perimeter
way 1
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC, ACV
655. Floor protection - corrugated 79.90 SF 0.43 3.30) 6.88 44.54 (0.00) 44.54
cardboard and tape
656, R&R 5/8" drywall - hung, taped, with 79.90 SF 2.30 17.64 36.76 238.17 (0.00) 238.17
smooth wall finish
657. R&R 1/2" drywall - hung, taped, with  484.00SF 2.23 103.61 215.88 1,398.81 (9.00) 1,398.81
smooth wall finish
658. Add for bullnose (rounded) corners 563.90 SF 0.11 5.95 12.40 80.38 (0.00) 80,38
659. R&R Blown-in insulation - (2" depth- 79.90 SF L.61 12.35 25.72 166,71 (0.00) 166.71
R30
660, Paint part of the walls and ceiling - 542.90 SF 0.62 32.32 67,32 436.24 (0.00) 436.24
two coats
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Fritz Development, LLC

CONTINUED - Laundry Room

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACY
661. R&R Baseboard - 6" w/shoe 40.33 LF 6.39 24.74 51.56 334.61 (9.00) 334,01
662. Seal & paint baseboard, oversized - 40.33 LF 0,98 3,79 7.90 SL.21 (0.00) 51.21
lwo coats

663. Seal & paint base shoe or quarter 40.33 LF 0.50 1.93 4.04 26.14 (0.00) 26,14
round

664. R&R Casing - oversized - 3 1/4" 19.00 LF 2.80 5.11 10.64 68.95 (0.00) 68.95
665. Paint doorsvindow trim & jamb - 2 LOOEA 19.48 1.87 3.99 25.25 (0.00) 25.25
coats (per side) :

666. Paint door slab only - 2 coats (per LOGEA 19.96 1.92 4.00 25.88 (0.00) 25.88
side)

667. R&R Crown molding - 5 3/8" to 6" 40.33 LF 3.44 21,06 43.88 284.33 (0.00) 284.33
668. Seal & paint crown molding, 40.33 LF 0.97 3.76 7.82 50.70 (0.00) 50.70
oversized - two coats

669. R&R T & G paneling - double beaded 24.00 SF 6.80 13.70 28.56 185.06 (0.00) 185.06
vee (unfinished) :

Beadboard backsplash .
670. Seal & paint paneling 21.00 SF 0.74 1.49 3.10 20.13 (0.00) 20.13

671, Detach & Reset Sink - single LOO EA 120.48 11.57 24.10 156.15 (0.00) 156.15
672. Detach & Resct Sink faucet - Kitchen LOO EA 96.98 9.31 19.40 125.69 (0.00) 125.69
673. Rough in plumbing - per fixture 2.00 EA 505.43 97.04 202.18 1,310.08 (0.00) 1,310.08
674, R&R Plumbing fixture supply line 2.00 EA 20.52 3.93 8.20 33.17 (0.00) 53.17
675. R&R Countertop - Granite or Marble 20.67 SF $7.95 114.99 239.58 1,552.39 (9.00) 1,552.39
676. Detach & Reset Cabinetry - lower 10.33 LF 51.87 51.44 107.16 694.42 (0.60) 694.42
(base) units

677. Detach & Reset Cabinetry - upper 5.50 LF 44,36 23.42 48.80 316.20 (0.00) 316.20
(wall) units

678. Detach & Reset Cabinetry - full 2.00 LP 51.64 9.91 20.66 133,85 (0.00) 133.85
height unit .

679. Detach & Reset Washer/Washing LOOEA 21.34 2.05 4.26 27.65 (0.00) 27.65
Machine - Front-loading - High grade .

680. Detach & Reset Dryer - Electric - LOOEA 19,24 1,85 3.84 24.90 (0.00) 24.90
High grade

681. R&R Washing machine outlet box LOOEA 218.20 20.95 43.64 282.79 (0.00) 282,79
with vaives

682. R&R 220 volt copper wiring run, box LOOEA 109.38 10.55 21.98 142.41 (0.00) 142.45
and receptacle

683. Rewire - average residence - copper 79.90 SF 2.39 18.34 38.20 247,50 (0.00) 247,50
wiring

684. R&R Switch - High grade LOOEA 21.24 2.04 4.26 27.54 (0.00) 27.54
685. R&R Outlet 5.00 EA 14.53 6.97 14.54 94.16 (0.00} 94.16
686. Light fixture - Detach & reset LOOEA 34.81 3.34 6.96 45.11 (0.00) 45.11
687. Interior window shutters (set) - 1.00EA 28.01 2.69 5.60 36.30 | (0.00) 36.30
Detach & reset

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Fritz Development, LLC

CONTINUED - Laundry Room

DESCRIPTION | QUANTITY UNIT PRICE TAX O&P RCV DEPREC, ACV
Totals: Laundry Room 644.93 1,343.72 8,706.82 0.00 8,706.82
Laundry Room Powder ;
Hallway] Height: 12’
523.76 SF Walls 76.56 SF Ceiling
600,32 SF Walls & Ceiling 76.56 SF Floor
ole 8.51 SY Flooring 43.65 LF Floor Perimeter
ahecom ai 43.65 LF Ceil. Perimeter
N
Missing Wall 3' 1 9/16" X 12' Opens into BREAKFAST
Missing Wall 3' 5 5/8" X 12! Opens into KITCHEN
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC, ACV
688. Floor protection - corrugated 76.56 SF 0.43 3.16 6.58 42.66 (0.00) 42.66
cardboard and tape
689, R&R 3/8" drywall - hung, taped, with 76.36 SF 2.30 16.90 35.22 228.21 (0.00) 228,21
smooth wall finish
690. R&R 1/2" drywall - hung, taped, with 523.76 SF 2.23 112.13 233.60 1,513.72 (0.00) 1,513.72
smooth wall finish
691. Add for builnose (rounded) corners 600.32 SF 0.11 6.34 13.20 85.58 (0.00) 85.58
692. R&R Blown-in insulation - 12" depth- 76.56 SF 1.61 11.83 24.66 159.75 (0.00) 159.75
R30
693. Paint the walls and ceiling -twocoats 600.32 SF 0.62 35.74 74.44 482.38 (0.00) 482.38
694. R&R Baseboard - 6" w/shoe 43,65 LF 6.39 26.78 55.78 361.48 (0.00) 361,48
695. Seal & paint baseboard, oversized - 43.65 LF 0.98 4.10 8.56 55.44 (0.60) 55.44
two coats
696. Seal & paint base shoe or quarter 43.65 LF 0.50 2.10 4.36 28.29 (0.00) 28,29
round
697, R&R Casing - oversized - 3 1/4" 76.00 LF 2.80 20.42 42.56 275.78 (0.00) 275.78
698. Detach & Reset Interior door, 8' - 4.00 EA 68.47 26,29 54.78 354.95 (9.00) 354,95
Colonist - pre-hung unit
699. Paint door/window trim & jamb - 2 4.00 EA 19.48 7A8 15.58 100.98 (9.00) 106.98
coats (per side)
700. Paint door slab only - 2 coats (per 4.00 EA 19.96 7.67 15.96 103.47 (8.00) 103.47
side)
701. R&R Crown molding - 3-piece 43.65 LF 12.43 52.10 108.50 703.17 (0.00) 703.17
702. Seal & paint crown molding, 43.65 LF 0.97 4.07 8.46 54.87 (0.00) $4.87
oversized - two coats
703. Rewire - average residence - copper 76.56 SF 2.39 17,57 36.60 237,15 (0.00) 237.15
wiring
704. R&R Switch - High grade 4Q0EA 21.24 8.16 17.00 140,12 (0.00) 110.42
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Fritz Development, LLC

CONTINUED - Hallway!

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
705, R&R Outlet 5.00EA 14.53 6.97 i454 O4.16 (0.00) 94.16
706. Detach & Reset Recessed light fixture 2.00 BA 72.99 14.02 29.20 189,20 (0.00) 189.20
Totals: Hallway! 383.83 799.58 5,181.36 0.00 5,181.36
J
Powder Height: 12'
250.00 SF Walls 27.08 SF Ceiling
277.08 SF Walls & Ceiling 27.08 SF Floor
3.01 SY Flooring 20.83 LF Floor Perimeter
20.83 LF Ceil. Perimeter
DESCRIPTION QUANTITY UNIT PRICE TAX O&F RCV DEPREC. ACY
707. Floor protection - corrugated 27.08 SF 0.43 1.12 2.32 15.08 (0.00) 45.08
cardboard and tape
708. Toilet - Detach & reset 1.00EA 196.43 18.85 39,28 254.56 (0.00) 254.56
709. Pedestal sink - Detach & reset 1.00EA 228.38 21,92 45.68 295.98 (0.00) 295.98
710. Detach & Reset P-trap assembly - EQOEA 48.16 4.62 9.64 62.42 (9.00) 62.42
ABS (plastic)
FEL R&R Plumbing fixture supply line 3.00 BA 20.52 5.92 12.32 79,80 (0.00) 79,80
712. R&R Angle stop valve 3.00 EA 33.20 9.57 19.92 129.09 (0.00) 129.09
713. Rough in plumbing - per fixture 2.00 BA 505.43 97.04 202.18 1,310.08 (0.00) 1,310.08
714. R&R 5/8" drywall - hung, taped, with 27.08 SF 2.30 5.99 12.46 80.74 (0.00) 80.74
smooth wall finish
71S. R&R 1/2" drywall - hung, taped, with 250.00 SF 2.23 53.52 111.50 722.52 (0.00) 722.52
smooth wall finish
716. Add for bullnose (rounded) corners 277.08 SF 0.11 2.93 6.10 39.51 (9.00) 39.51
717, R&R Blown-in insulation - 12" depth- 27.08 SF 1.61 4.18 8.72 56.49 (0.00) 56.49
R30 .
718. Painting - Faux (special effects) - 3 250.00 SF 1.98 47.52 99.00 641.52 (0.00) 641.52
part
719, Paint the ceiling - iwo coats 27.08 SF 0.62 1.61 3.36 21.76 (0.00) 21.76
720. R&R Baseboard - 6" w/shoe 20.83 LF 6.39 12.78 26.62 172.50 (0.00) 172.50
721. Seal & paint baseboard, oversized - 20.83 LF 0.98 1.96 4.08 26.45 (0.00) 26.45
two coats
722, Seal & paint base shoe or quarter 20.83 LF 0.50 1.00 2.08 13.50 (0.00) 13.50
round :
723, R&R Casing - oversized - 3 1/4" 19.00 LF 2.80 5.11 10.64 68.95 (0.00) 68.95
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Fritz Development, LLC

CONTINUED - Powder

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC, ACV
724, Paint deor/window trim & jamb - 2 LOQOEA 19.48 1.87 3.90 25.25 (0.00) 25.25
coats (per side}

725. Paint door slab only - 2 coats (per L.O0EA 19,96 1.92 4.00 25.88 (0.00) 25.88
side)

726. R&R Crown molding - 5 3/8" to 6" 20.83 LF 5.44 10.88 22.68 146,88 (0.00) 146.88
727. Seal & paint crown malding, 20.83 LF 0,97 1.94 4.04 26.19 (0.00) 26.19
oversized - two coats

728, Rewire - average residence - copper 27.08 SF 2.39 6.22 12.94 83.88 (0.00) 83.88
wiring,

729, R&R Switch - High grade 2.00 EA 21.24 4,07 8.50 55.05 (0.00) 35.05
730, Detach & Reset Bathroom ventilation LOO EA 37.72 3.62 754 48.88 (0.00) 43.88
fan w/tight

731. Light fixture - Detach & reset 100EA 34.81 3.34 6,96 45.11 (0.00) 45.11
732, Toilet paper holder - Detach & reset 1.00 EA 13.11 1.26 2.62 16,99 (0.00) 16.99
733. Additional cost to bevel a mirror up 8.00 LF 4.79 3.68 7.66 49.66 (9.00) "49.66
to 1"

734. R&R Mirror - 1/4" plate glass 8,00 SF 10.46 8.04 16.72 108.44 (0.00) 108.44
Totals: Powder 342.48 713.46 4,623.16 6.00 4,623.16

Da Side Eatry

Height: 12°

409.05 SF Walls
488.19 SF Wails & Ceiling

79.15 SF Ceiling
79.15 SF Floor

] Wt 8.79 SY Flooring 30.99 LF Floor Perimeter
| * 38.83 LF Ceil. Perimeter
* Cabinets {B1) | =
Missing Wall - Goes to Floor 3' 6" X 8! Opens into KITCHEN
Missing Wall - Gees to Floor 4" X6' Br Opens into Exterior
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCY DEPREC. ACV
735. Floor protection - corrugated 79.15 SF 0.43 3.26 6.80 44.09 (0.00) 44.09
cardboard and tape
736. R&R 5/8" drywall - hung, taped, with 79.15 SF 2.30 17.47 36.40 235.91 (0.00) 235,91
smooth wall finish ,
737. R&R 1/2" drywall - hung, taped, with 409.05 SF 2.23 87,58 182.44 1,182.20 (0.00) 1,182.20
smooth wall finish
738, Add for bulinose (rounded) corners 488.19 SF 0.11 5.16 10.74 69.60 (0.00) 69,60
739, R&R Blown-in insulation - 12" depth- 79.15 SF . Lél 12.24 25,48 165.15 (0.00) 165.15
R30 : :
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Fritz Development, LLC

CONTINUED - Side Entry

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCY DEPREC. ACV
740. Paint the walls and ceiling-two coats 488,19 SF 0.62 29.05 60.54 392.27 (0.00) 392.27
741. R&R Baseboard - 6" w/shoe 30.99 LF 6.39 19.01 39.62 256.66 (0.00) 256.66
742. Seal & paint baseboard, oversized - 30.99 LF 0.98 2.92 6.08 39.37 (0.00) 39,37
two coats

743. Seal & paint base shoe or quarter 30.99 LF 0.50 1.49 3.10 20.09 (0.00) 20.09
round

744, R&R Casing - oversized ~ 3 1/4" 38.00 LF 2.80 10.23 21.28 137.91 (0.00) 137.91
745, Paint doorAvindow trim & jamb - 2 2.00EA 19.48 3.74 7.80 $0.50 (0.00) $0.50
coats (per side)

746, Paint door slab only - 2 coats (per 2.00 BA 19.96 3.83 7.98 51.73 (9.00) 51.73
side)

747, R&R Crown molding - 5 3/8" to 6" 38.83 LF 5.44 20,28 42.26 273.78 (0.00) 273,78
748. Seal & paint crown molding, 38.83 LF 0.97 3.61 754 48.82 (0.00) 48.82
oversized - two coats ,

749, R&R Cabinetry - coat hook cabinet* 4.00 LF 131.48 $0.50 105.18 681.60 (0.005 681.60
750, Seal & paint full height cabinetry - 4.00 LF 33.47 12.85 26.78 173.31 (0.00) 173.51
inside and out

751. Rewire ~ average residence - copper 79.15 SF 2.39 18.16 37,84 245.17 (0.00) 245.17
wiring

752. R&R Switch - Nigh grade 4.00 EA 21.24 8.16 17.00 110.12 (0.00) 110.12
753. R&R Outlet 2.00 EA . 14.53 2.78 5.82 37.66" (0.00) 37.66
734, Light fixture - Detach & reset LO0EA 34.81 3.34 6.96 ASLLE (0.00) 45.41
Totals: Side Entry 315.66 657.64 4,261.25 0.00 4,261,25

Stairs Height: 15' 9"

183.48 SF Walls 17.05 SF Ceiling
200.53 SF Walls & Ceiling 32.21 SF Floor
3.58 SY Flooring 14.91 LF Floor Perimeter

9 bw 12.89 LF Ceil. Perimeter
poe

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Fritz Development, LLC

Subroom: Stairs! (2)

Height: 12'

97.63 SF Walls
114.16 SF Walls & Ceiling
1.84 SY Flooring .
8.14 LF Ceil. Perimeter

Missing Wall 3° 16" & 12!
Missing Wall 3' 11 5/8" X 12!

Subroom: Stairs2 (1)

16,53 SF Ceiling
16.54 SF Floor
8.14 LF Floor Perimeter

Opens into S'FAIRS
Opens inte STAIRS2

Height: 15' 9"

119.07 SF Walls

135.61 SF Walls & Ceiling
3.73 SY Flooring
8.50 LF Ceil. Perimeter

Missing Wall 3° 115/8" X15" 9"

16.54 SF Ceiling
33.57 SF Floor
10.35 LF Floor Perimeter

Opens into STAIRS1

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV

755. Remove Carpet 82.32 SF 0.23 1.81 3.78 24,52 (0.00) 24,52

756. Carpet 148.17 SF 2.26 32.15 66.98 433.99 (0.00) 433.99

757. Step charge for "tucked" carpet 14.00 EA 7.07 9,50 19.80 128.28 (0.00) 128.28

installation - High grade

758. R&R Carpet pad 82.32 SF 0.59 4.67 9.70 62.94 (0.00) 62.94

759. R&R 5/8" drywall - hung, taped, with 30.12 SF 2.30 11.06 23.04 149.38 (0.00) 149.38

smooth wall finish

760. R&R 1/2” drywall - hung, taped, with = 400.19 SF 2,23 85.67 178.50 1,156.59 (0.00) 1,156.59

smooth wall finish

761. Add for bullnose (rounded) corners 456.30 SF 0.11 75 9.90 64.18 (0.00) 64.18

762. R&R Blown-in insulation - 12" depth- 50.12 SF 1.61 5 16.14 104.59 (0.00) 104.59

R30

763, Paint the walls and ceiling - #vo coats «450.30 SF 0.62 26.81 55.84 361.84 (0.00) 361.84

764. R&R Baseboard - 6" w/shoe 33.39 LF 6.39 20.49 42.68 276.53 (9.00) 276.53

765. Seal & paint baseboard, oversized ~ 33.39 LF 0.98 3.14 6.54 42.40 (0.00) 42,40

two coats

766. R&R Casing - oversized - 3 1/4" 19.00 LF 2.80 5.11 10.64 68.95 (0.00) 68.95

767, Paint door/window trim & jamb - 2 LOOEA 19.48 1.87 3.90 25.25 (0.00) 25.25

coats (per side}

768. Paint door slab only - 2 coats (per LOO EA 19.96 _ 192 4.00 25.88 (0.00) 25.88

side)

769. R&R Crown molding - 5 3/8" to 6" 29.53 LF 5.44 15.42 32,12 208.18 (0,00) 208.18

770. Seal & paint crown molding, 29,53 LF 0.97 2.75 5.72 37.11 (0.00) 37.11

oversized - two coats

V7. Rewire - average residence - copper 82.32 SF 2.39 18.89 39,34 254.97 (0.00) 254.97

wiring

772. R&R Switch - High grade 2.00EA 21,24 4.07 8.50 55.05 (0.00) 55.05
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¥ritz Development, LLC .

DESCRIPTION

CONTINUED - Stairs

QUANTITY UNIT PRICE TAX O&P RCY DEPREC. ACY

773. Detach & Reset Light fixture - wall 2.00 EA 34.81 6.68 13.92 90.22 (0.00) 90.22
sconce .

Totals; Stairs 264.51 §51.04 3,570.85 0.00 3,570.85

Bonus Room Height; 9"

Missing Wall
Missing Wall

396.91 SF Wallis

624.44 SF Walls & Ceiling
25.28 SY Flooring
46.33 LF Ceil. Perimeter

Subroom: Roomf (i)

227.54 SF Ceiling
227.54 SF Floor
46.33 LF Floor Perimeter

Height: Sloped

82.98 SF Walls
170.09 SF Walls & Ceiling
5.89 SY Flooring
22.57 LF Ceil, Perimeter

4'X 4’
j3'3" X4'

Subroom: Room? (2)

87.11 SF Ceiling
§3.00 SF Floor
17.42 LF Floor Perimeter

Opens into BONUS ROOM
Opens into BONUS ROOM

Height: Sloped

126.51 SF Walls.
229.31 SF Walls & Ceiling
8.33 SY Flooring
26,83 LF Ceil, Perimeter

102.80 SF Ceiling
75.00 SF Floor
22.75 LF Floor Perimeter

Missing Wall Ava" xs Opens into BONUS ROOM
Missing Wall 5'6" X4' Opens into BONUS ROOM
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
774, Remove Carpet 355,54 SF 0,23 7.85 16.36 105.98 (0.00) 105.98
775. Carpet 397.58 SF 2.26 86.26 179.70 1,164.49 (0.00) 1,164.49
776, R&R Carpet pad 355.54 SF 0.59 20.14 41.96" 271.86 (0.00) 271,86

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Fritz Development, LLC

CONTINUED - Bonus Room

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCY DEPREC. ACV
777, R&R 5/8" drywall - hung, taped, with = 417.45 SF 2.30 92.17 192.02 1,244.32 (0.00) 1,244.32
smooth wall finish

778. R&R 1/2" drywall - hung, taped, with 606.39 SF 2.23 129.82 270.46 1,752.53 (0,00) 1,752.53
smooth wall finish

779. Add for bullnose (rounded) corners 1,023.84 SF 0.11 10.81 22.52 145.95 (0.00) 145.95
780. R&R Blown-in insulation - 12" depth- 417.45 SF L.6k 64,52 134.42 871.03 (0.00) $71.03
R36

781. Paint the walls and ceiling - two coats 1,023.84 SF 0.62 60.94 126.96 822.68 (0.00) 822.68
782. R&R Baseboard - 6" MDF w/profile 86.50 LF 4.27 35.46 73.86 478.68 (0.00) 478.68
783, Seal & paint baseboard, oversized - 86.50 LF 0.98 8.14 16.96 109.87 (0.00) 109,87
two coats

784. R&R Casing - oversized - 3 1/4" 38.00 LF 2.80 10.23 21.28 137.91 . (0.00) 137.91
785. Detach & Reset Interior door - 2.00 EA 62.18 1.94 24.88 161.18 (0.00) 161.18
Colonist - pre-hung unit

786, Detach & Reset Interior double door - LOOEA 90.34 8.68 18.06 117.08 (0.00) 117.08
Colonist - pre-hung unit

787. Paint door/window trim & jamb - 2 2.00 EA 19.48 3.74 7.80 50.50 (0.00) 50.50
coats (per side)

788. Paint door slab only - 2 coats (per 2.00 EA 19.96 3.83 7.98 §1,73 (6.00) $1.73
side}

789. Rewire - average residence - copper 355.54 SF 2.39 81.58 169,94 1,101.26 (0,00) 1,101.26
wiring

790. R&R Switch - High grade 3.00EA 21.24 6.12 i2.76 82.60 (0.00) 82.60
791. R&R Outlet 5.00 EA 14.53 6.97 14.54 94.16 (9.00) 94.16
792, R&R Phone, TY, or speaker outlet 2.00 EA 17.76 3.40 7.10 46.02 (0.00) 46.02
793. Ceiling fan - Detach & reset 1.00EA 123.98 11.90 24.80 160.68 (0.00) 160.68
794. Detach & Reset Recessed light fixture 4,00 EA 72,99 28.03 58.40 378.39 (0.00) 378.39
795. Interior window shutters (set) - 2.00 EA 28.01 5,38 11.20 72.60 (0.00) 72.60

Detach & reset

Totals: Bonus Room 697.91 1,453.96 9,421.50 0.09 9,421.50

Bonus Bathroom Height: 9'
4 a
sk | vakiry } 297.00 SF Walls 52.08 SF Ceiling
staly talk 349.08 SF Walls & Ceiling 52.08 SF Floor

l way Wf 5.79 SY Flooring 33.00 LF Floor Perimeter

{ Lots 33.00 LF Ceil. Perimeter

ee — 7 —_+
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCY DEPREC. ACV

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Fritz Development, LLC

CONTINUED - Bonus Bathroom

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC, ACV
796. Floor protection - corrugated 52.08 SF 0.43 2.15 448 29.02 (0.00) 29,02
cardboard and tape

797, R&R Countertop - Granite or Marble 8.50 SF 57.95 47.29 98.50 638.37 (0.00) 638.37
798. Cabinetry - lower (base) units - 4.17 LF 31.87 20.76 43.26 280.32 (0.00) 280.32
Detach & reset

799, R&R P-trap assembly - ABS (plastic) LOOEA 55.99 5.37 $1.20 72.56 (0.00) 72.56
800. R&R Angle stop valve 3.00EA 33.20 9.57 19.92 129.09 (0.00) 129.09
801. Detach & Reset Sink faucet - 1.00 EA 96.98 931 19,40 125.69 (9.00) 125,69
Bathroom

802. Detach & Reset Sink - single 1.00EA 120.48 11.57 24.10 156.15 (0.00) 156.15
803. Rough in plumbing - per fixture 3,00 EA 505.43 145.56 303.26 1,965.11 (0.00) 1,965.11
804. Toilet - Detach & reset LOOEA 196.43 18.85 39.28 254,56 (0.00) 254.56
805. R&R Tile tub surround - 60 to 75 SF - LOOEA 1,152.02 110,59 230.40 1,493.01 (0.00) 1,493.01
High grade

806. Detach & Reset Shower faucet LOQOEA 63.03 6.05 12.60 81.68 (0.00) 81.68
807. R&R 3/8" drywall - hung, taped, with 52.08 SF 2.30 11.50 23.96 155.25 (0.60) 155.25
smooth wall finish

808. R&R 1/2" drywall - hung, taped, with 297.00 SF 2.23 63.59 132.46 $58.36 (0.00) 858.36
smooth wall finish

809. Add for bullnose (rounded) corners 349,08 SF 0.F1 3.68 7.68 49.76 (0.00) 49,76
810. R&R Blown-in insulation - 12" depth- 52.08 SF L.61 8.04 16.78 108.66 (0.00) 108.66
R30-

811. Paint the walls and ceiling - two coats 349,08 SF 0.62 20.77 43.28 280.48 (0.00) 280,48
812. R&R Baseboard - 6" wishoe 33.00 LF 6.39 20.24 42.18 273,29 (0.00) 273.29
813. Seal & paint baseboard, oversized - 33.00 LF 0.98 3.1k 6.46 41.9] (0.00) 41.91
two coats

8id. Seal & paint base shoe or quarter 33.00 LF 0.50 1.58 3.30 21.38 (0.00) 21.38
round

815. R&R Casing - oversized - 3 1/4" 19.00 LF 2.80 5.11 10.64 68.95 (0.00) 68.95
816. Paint door/window trim & jamb - 2 1O0EA 19.48 1.87 3,90 25,25 (0.00) 25.25
coats (per side)

817. Paint door slab only - 2 coats (per LOOEA 19.96 1.92 4.00 25.88 (0.00) 25.88
side)

818. Rewire - average residence - copper 52.08 SF 2.39 11.95 24.90 165.32 (6.00) 161.32
wiring

819. R&R Switch - High grade 2.00 EA 21.24 4.07 8.50 55.05 (0.00) 55.05
$20, R&R Outlet 2.00 EA 14.53 2.78 5.82 37.66 (0.00) 37.66
821. Light fixture - Detach & reset 100EA 34,81 3.34 6.96 45.11 (0.00) 45.11
$22. Detach & Reset Bathroom ventilation 1.00 EA 78.57 7.55 15.72 101.84 (0.00) 101.84
fan, light, and heater

823. Detach & Reset Towel bar - Premium 1LQ0EA 12.42 1.19 2.48 16.09 (0.00) 16.09
grade

824. Toilet paper holder - Detach & reset LOOEA 13.44 1.26 2.62 16.99 (0.00) 16.99

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Fritz Development, LLC

CONTINUED - Bonus Bathroom

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACY
Tetals: Bonus Bathroom 560.62 1,168.04 7,568.79 0.00 7,568,79
Garage Height: 12'

1282.00 SF Walls
1898.31 SF Walls & Ceiling

68.48 SY Flooring

106.83 LF Ceil. Perimeter

616.31 SF Ceiling
616.31 SF Floor
106.83 LF Floor Perimeter

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV

825. Floor protection - corrugated 616.31 SF 0.43 25,44 53.00 343.45 (0.00) 343.45

cardboard and tape

826. R&R 5/8" drywall - hung, taped, with 616.31 SF 2,30 136.08 283.52 1,837.12 (0.00) 1,837.12

smooth wall finish

$27. R&R 1/2" drywall - hung, taped, with — [,282,00SF 2.23 274.45 571.78 3,705.09 (0.00) 3,705.09

smooth wall finish

828. Add for bullnose (rounded) corners 1,898.31 SF 0.11 20,04 41,76 270.61 (0.00) 270.61

829, R&R Blown-in insulation - 12" depth- 616.31 SF 1.61 95.26 198.46 1,285.98 (0.00) 1,285.98

R30

830. Paint the walls and ceiling - two coats 1,898.31 SF 0.62 112.99 235.40 1,525.34 (0.00) 1,523.34

831. R&R Baseboard - 6" w/shae 106.83 LF 6.39 65.54 136.52 884.70 (6.00) $84.70

832. Seal & paint baseboard, oversized - 106.83 LF 0.98 10.06 20.94 135.69 (6.00) 135.69

two coats

833. R&R Casing - oversized - 3 1/4" 20.00 LF 2.80 5.37 11.20 72.57 (0.00) 72.57

834. Paint door/window trim & jamb - 2 L.O0EA 19.48 1.87 3.90 25.25 {0.00} 25.25

coats (per side)

835. Paint door slab only - 2 coats (per 1.00EA 19.96 1.92 4.00 25,88 (0.00) 25.88

side}

836. R&R Crown molding - 5 3/8" to 6" 106.83 LF 5.44 55.79 116.24 753.19 (0.00) 753.19

837. Seal & paint crown molding, 106.83 LF 0.97 9.95 20.72 134.30 (0.00) 134.30

oversized - two coats

838. Rewire - average residence - copper 616.31 SF 2.39 {41.41 294.60 1,908.99 (9.00) 1,908.99

wiring :

839. R&R Switch - High grade 2.00EA 21.24 4.07 8.50 $5.05 (9.00) 55.05

840. R&R Outlet 5.Q0EA 14.53 6.97 i4.54 94.16 (6.00) 94.16

841, Detach & Reset Fluorescent light 2.00 EA 50.54 9.71 20.22 131.01 (0.00) 131.01

fixture

842. Detach & Reset Overhead (garage) LOOEA 185.08 17.77 37.02 239.87 {0.00} 239.87

door opener

843. R&R Overhead door track 32.00 LF 8.43 25.89 53.94 349.59 (0.00) 349,59
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Fritz Development, LLC

CONTINUED - Garage

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC, ACY
844. Interior window shutters (set) - 3.00 EA 28.01 8.06 16.80 108.89 (0.00) 108.89
Detach & reset
Totals: Garage £,028.64 2,143.06 13,886.73 0.00 13,886.73
Total: Main Level 16,522.61 34,423.42 223,058.02 0.00 223,058.02
Labor Minimums Applied
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACY
845. Paneling Jabor minimum* 100EA 100.88 9.68 20.18 130,74 (0.00) 130.74
Totals: Labor Minimums Applied 9.68 20.18 130.74 0.00 130.74
Line item Totals: DRESCHER 21,052.68 43,924.06 288,714.32 0.00 . 288,7 14,32
Grand Total Areas:
14,877.81 SF Walls 4,047.45 SF Ceiling 18,925.26 SF Walls and Ceiling
3,954.23 SF Floor 439.36 SY Flooring 1,271.76 LF Floor Perimeter
0.00 SF Long Wall 0.00 SF Short Wall 1,312.63 LF Ceil. Perimeter
3,954.23 Floor Area 4,226.81 Total Area 14,383.80 Interior Wall Area
5,665.89 Exterior Wall Area 472.81 Exterior Perimeter of
Walls
0.00 Surface Area 0.00 Number of Squares 0.00 Total Perimeter Length
0.00 Total Ridge Length 0.00 Total Hip Length

DRESCHER

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Fritz Development, LLC

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Line Item Total
Overhead
Profit

Total Tax

Replacement Cost Value
Net Claim

Summary

223,737.58
21,962.03
21,962.03
24,052.68

$288,714.32
$288,714.32

Jason Nezat

DRESCHER

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Fritz Development, LLC

Recap by Room

Estimate: DRESCHER

General Requirements 22,906.21 10.24%
HVAC 15,119.25 6.76%
Exterior Insulation 5,892.52 2,63%
Electrical 4,223.79 1.89%
Security 3,382.94 1.51%

Area: Main Level

Foyer 2,872.32 1.28%
Office 4,934.90 2.21%
Dining 7,166.29 3.20%
Kitchen 21,521.96 9.62%
Living Room 10,594.69 4.74%
Breakfast 2,905.45 1.30%
Pantry 2,236.40 1.00%
Master Bedroom 7,926.43 3.54%
Master Bath 14,201.56 6.35%
Master Closet 1 2,851.86 1.27%
Master Closet 2 2,178.98 0.97%
wc 2,122.06 0.95%
Bedroom | 5,063.66 2,26%
Closet 1 1,727.56 0.77%
J&J Vanity 1 3,632.65 1.62%
J&I Vanity 2 3,524.89 1.58%
J&JI Closet 1,241.99 0.56%
J&J Bath 4,936.49 2.21%
Bedroom 2 5,219.14 2.33%
Closet 2 2,288.43 1.02%
Bedroom 3 5,147.41 2.30%
Closet 3 1,942.31 0.87%
Bathroom 3-- 6,068.51 2.71%
Hallway 4,333.36 1.94%
Hall Closet 1,321.31 0.59%
Laundry Room 6,718.17 3.00%
Haliwayl 3,997.95 1.79%
Powder 3,567.22 1.59%
Side Entry. 3,287.93 1.47%
Stairs 2,755.30 1.23%
Bonus Room 7,269.63 3.25%
Bonus Bathroom 5,840.13 2.61%
Garage 10,715.03 4.79%
Area Subtotal: Main Level 172,111.99 76,93%
Labor Minimums Applied 100.88 0.05%

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Subtotal of Areas 223,737.58 100.00%
Total 223,737.58 100.00%
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Fritz Development, LLC

Recap by Category

O&P Items Total %
APPLIANCES 1,824,75 0.63%
CABINETRY 15,573.65 5.39%
CLEANING 16,263.67 5.63%
GENERAL DEMOLITION 20,383.21 FM6%
DOORS 2,354,85 0.82%
DRYWALL 37,261.60 12.91%
ELECTRICAL 18,745.04 6.49%
ELECTRICAL - SPECIAL SYSTEMS 124,19 0.04%
FLOOR COVERING - CARPET 3,785.37 1.31%
PERMITS AND FEES 50.00 0.02%
FINISH CARPENTRY / TRIMWORK 19,305.28 6.69%
FINISH HARDWARE 127.65 0.04%
FIREPLACES 928,37 0.32%
HEAT, VENT & AIR CONDITIONING 14,085.10 4.88%
INSULATION 7,801.41 2.70%
LABOR ONLY 116.88 0.04%
LIGHT FIXTURES 6,975,51 2.42%
LANDSCAPING 250.00 0.09%
MASONRY 5,444.31 1.89%
MIRRORS & SHOWER DOORS 2,660.00 0.92%
PLUMBING 16,892.72 5.85%
PANELING & WOOD WALL FINISHES 237.17 0.08%
PAINTING 19,619.66 6.80%
SPECIALTY ITEMS 25.14 0.01%
TILE 7,637,59 2.65%
WINDOW TREATMENT 1,141.92 0.40%
O&P Items Subtotal 219,615.04 76.07%
Non-O&P Items Total %
CLEANING 1,750.00 0.61%
PERMITS AND FEES 2,372.54 0.82%
Non-O&P Items Subtotal 4,122.54 1.43%
O&P Items Subtotal 219,615.04 76.07%
Overhead 21,962.03 7.61%
Profit 21,962.03 7.61%
Total Tax 21,052.68 7.29%
Total 288,714.32 100.00%
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